Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 1 of 89 Page ID #:9




                   EXHIBIT A
     Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 2 of 89 Page ID #:10




C/J.
csc                                                                                                                      null / ALL
                                                                                                     Transmittal Number: 19090900
Notice of Service of Process                                                                            Date Processed: 12/13/2018

Primary Contact:           Sheila L. Williams
                           The Sherwin-Williams Company
                           101 Prospect Avenue, N.W.
                           Cleveland, OH 44115-1075

Entity:                                       The Sherwin-Williams Company
                                              Entity ID Number 2470034
Entity Served:                                The Sherwin-Williams Company
Title of Action:                              People of the State of California ex rel South Coast Air Quality Management
                                              District vs. The Sherman-Williams Company
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Environmental
Court/Agency:                                 Los Angeles County Superior Court, CA
Case/Reference No:                            18PSCV00136
Jurisdiction Served:                          California
Date Served on CSC:                           12/12/2018
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           William B. Wong
                                              909-396-3535

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




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        Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 3 of 89 Page ID #:11
oQ•_
                                                            SUMMONS                                                                                                           SUM:-100
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                                                 (CJTACION JµQJCfAL)                                                                     (SOLO PJIJ!IA I.IS<:! CE LA CORli'j
                                                                                                                       1
       NOTICE TO D!:FENDANT: THE SHERWIN-WILLIAMS COMPANY I al
       (AVJSOAL DEMANDADO): an Ohio. Corporation,  and DOES ;1
       thi·ough, sd, Inclµsive                                   ·




       YOU ARE BEING SUED BY PLAlNTlFF:                                                                                     Snorrt FL can~t. Exoc_uuvo Q!!\O<lriC!etit·
                                                                                                                                 oy~ cana.:c.e s. oat::gna, Olilplliy
       (LO ESTA DEMANDANDO EL DEMANDANTE):
        PEOPLE: OF THE STATE Oi CALIFORNIA, ex rel SOUTH COAST
       Jl.I,R Q_UALITY MANAGEMENT DISTRICT, a Public Entity

         NOTICE! You nave been sued. The court may.<leolde agafrmt you without your being fwmd'unless you respond within 30 doys:.Reod,lhe Information
         oe!ow.
             You have 30 CALENDAR DAYS after tills summons and !ega!.p:ipcrs are sorvoo en you to file a written response al this court and hav,rn- copy
         sc,ved on the plainliff, A letter or phone.cal.! will nqt pr9tect you. Your writt_en response mus.t be in prop!!r leg;i! form if you wanUhe court. to hea,r .you,
         case. There may ba a court form I.ha( you can use for your response. You can find these col,Jrt forms and more in'!ormal1on at the Galffornia Cou'r!:s
         Online Se!f.rie!p Center (W\\'>,V.ccu1t{nfo.C.i.!f<.wlselllielp). your county law !:bra,ry, or the courthouse nearest you. If you cannot pay the fifing fee. ask
         the court clerk for a fee waiver form. Uy_ou do not fil<i yiJtlt response on lims, you m'tf/ !Ose !he case by default, and your wages. monej', {!ml p;opt!/ty
        .may be tal<eo-wlthoutlunher warning ffom Hie:_ctiwt.                    ·                              i                                   ·        • ,          •
             There are other !egat requirements, You may want to call an allorney rrght away. lf you do no! know an attorney, you may w,mt !o call mn attorney
         referral .servict-. lf yvu cannot afford an nttomey, you may be ellgll'.l!e for free !cgaf servlces from a nonprofit legal sewrc1.1s program. You can locate
        _these nonpro!i! groups al the Cel!fotn1a Leg<J! Services Web site {wW1v.fawfietpca!ifomia, org). the California Comts Onrine Seli-He!p Center
         {www.courtinfo. cft.gov/sclfhefp}; o; by contoctlng your locsl court o< county bm assacratton, NOTE: The court lias a sJatutory lien for waived fees and
         costs on any snWement or arbilrn!lon award nf $10,000 or mere in :;i ci11il case. The court's 1lim mus!. be puk:i before the (;Curt wil! dismfas the case
         ;AVJSO/ Lohan dom/JJ'/&,do, Si no respondc- d1Jnlm de 30 dlos. ta coae puvde dec!dir en su contra sin oscm;:J;;ir su versftm. Lea fa in!ormscfon a-
         conti11uaci611                                                                                        '
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         on fommlo legal correcfo si desea que pmccsen su caso en la cone. Es poSJbie quo haya un formuiatio que ustcd puedo usf)r p:iro su rospuasta
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         podni quitar su sueido, ainero y biene.s sin ma?' ecivertencia.
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        progroma de sctvicros lcgales si;; fines de IIJCfo Puodo onconlrare:J/os gwpos sin f!ni>s do fucro en o/ sl(io web <fa
         (V,">'.-IW.lawhetpcolifomia.org), en el Ci,ntto.do Ayudu do IBs Cortf!s de CDlifomia, (,'Mw.sucd,rte.ca gov; o ponzendose en contacto con ta cone o el
         cofogio de enog:.idos /ocnies. AVISO: Par lay. la cone /Jene derectio & reclamar las cuores!y /cs castos fWintos por lmponer 1m gravamen sobre
        wak;ufer rocu~racion de $10,000 6 mas do veter ,ecJafda madientq 1111 acusrdo o ooo conces,on de erbi/mje en un caso de derecho civil. Tlene que
         pagar el f]ravemen de fa cot11 anlos rlo qim le co rte pued;i de.1echflr el caso.
           e name,an a . ressof1 e cowl.is:                                                                                CASE Nl!!,161:R;
       (El nombro y dfreoci6n d& fa corif:Hiis):                                                                           /NuAum fklC».W),

       superior Court of California
       400 Civic Center
       •100 Civi,c Center
       Pomona, CA 91766
       The name, address, and telephone number of p!alntiffs attorney, or plaintiff without 1'111 attorney. is:
       (EJ nombre, la dJtacci(m y el numero-de tefi;fono de! abogado daf domandante; o clef demandante que no tiene abogado, es):
       William B. Wong'{ CA SEN 120354
       South Coast Air Quality Management Di.qtrict
       21865 Copley Drive
       Diamond Bar, CA 91765
       DATE:                                                _                Ch n~_at,,           Clerk, by      ·.          rANr.1r.'!::_~_L!1L~. Deputy
       (Fectw                                 il SHERRI R .M.n t 1-nr                 (St?cretarioJ :                           &"J~~u,W"l: (AdjunloJ ·
                                                                                                                             >;.;;M
       (Fo, proo    e                        11'!'summons, use Proof of Service or Summons (form POS-010).)                                                                      __""'1
       (Para prveba de entroga de esta cilafidn use el formulario Proof of Service of Summons, (POS·010)).                                                                          .f
                                      NOTI.CE TO THE PERSON SERVED: You are served                                                                                                       !.
                                      1. L) as an individual defendant                                                   CA~E ASSIGNED FOR                                               i
                                      2.                    CJ       as
                                                   the person sued under the fic!illou;                         ~ame_of_{spiqitfJ:P~RPOSES TQ
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                                                                               1h,L Shaw\l'\ ~ µ ; ; \ ~                                      ~\J\.~
                                                        •   t1' on l>J. ~i~p~J: ro-~vi. .           JUDG                                      PErtR A. HERNANDEZ
                                                            under:        [Z] CCP 416.10Torpomt1on)               ·          f,,E·P~..t;::C~416.60 (minor)
                                                                          ::'.:.".:J CCP 416.20 (defunct corpcraHon}         lJ • . bcP'416.70 (conservateo}
                                                                      ·f~.J CCP-416.40 (association or partnership)           l . -: CCP 416.90 (authorized person}
                                                                     ; · -i other {spocify):
                                                    4.          ~ by pe'isonal delivery on (dale):
        fv-"m A:!r.>;t.tJ lcr U.¼~U!'f U>o                                             SUMMONS
           Al!W;1 ~ ill Ct::.'et'¼l
          SUl,MCC ffi~. J.Zt !, 2009)

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               Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 4 of 89 Page ID #:12

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                AnORN£Y ORPNnY'MTKOUf AnORNEY (NIIJIJf). Sime Bar IIUfflller, Mdlllit1NI};                                               FORCOIIRTC/MlONLY
                  illiam B. Wong, CA SBN 120354
      ')a        South Coast Air Quality Management District
      ·Cb        21865 Copley-Drive
                Diamond Bar, CA 91765
                                                                                     .
                                                                                     ··                                                 C'ltmJPY
       0u~                      (909) 396-2307
                      mEPKONENO-;                     FAXNO.; (909) 396-2961
                                     Coa     i      a      Ma      I: i                                                                    NOV 30 2018
 ... \w,         &~DR COURT OF CA~RNIA, COUNTY OF LOS ANGELES
; ,I~l              a:rtim'ADnRBS:400         c;v!c       Center                                                               Sherri R. Carter, Executive Olfrcer/Cfedl
 i·   _:·t':         MAILIHGIDDRESS:400 C1v1c Center                                                                               By: Candlco S. catagno. Deputy
i-:'..- ,.        . cilYMD1JPCODE:Pomona CA 91766
h:.:~c::
:···
                    : ' 8RANCHNAME:East      J{idicial District Pomona
                CASENAME:              People v. Sherwin Williams
                                                                             Complex Caa_e DaalgnaUonJ                      CASE NUMBER:
                                                                         D     Counter              D
                                                                                                Jolnd r

                                                  OD or less
                                                                         Flied with first appearance by defendant
                                                                             (CBI. Rules of Court, rule 3.4 · 2)
                                                                                                                           JIID.IE:ft
                                                                                                                            orkCJ
                                                                                                                                        pSC VO O136
               1. Check one box below for the case type that bast descrtbes lhls case:
                  Auto Tort                                              Conlract                             '    Provlslonally Complex CMI UUgaUon
                  D    Auto (22)                                         D      Breach of contract/warranty (O~)   (Cnl. Rules of Court, rules ~.400-3A03)
                  D    Uninsured motorist (46)                           D      Rule 3.740 collectlons (09)    ,   D     Antttrustrrrade reeu1at1on (03>
                  Other Pl/PD/WO (Personal lnJury/Prop11rty
                  DamageJWrongful Death) Tort
                  D       Asbaslos (04)
                                                                         B
                                                                         D      other collectlon& (09)
                                                                                1nsurance coverage (1B)
                                                                                other contract (37)
                                                                                                               1
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                                                                                                                   D
                                                                                                                            Construc:Unn defect (10)
                                                                                                                            Mass tort (40)
                                                                                                                            Securities 6tigaUon (28)
                 ·D       Product llablll!y (24)'.                       Real Property                             D        EnvlronmentaVToxlc tort (30)
                  D       Medical malpraclll:e (45)                      D     Eminent domain/Inverse              D        Insurance coverage claims arising from the
                  D       Olher PIIPDiWD (23)                                  condemnaUon (14)                             above listed provisionally complex case
                  Non-PI/PD/WD (other) Tort                              CJ    Wrongful eviction (33)                  ·    types (41)

                  D   Business tolf/unfalr business practice (07)        D
                                                                       Other real property (26)                    Enforcement of Judgment
                  D    CMI rights (08)                            Unlawful Detainer                                D    Entorcement of Judgment (20)
                  D Defamation (13)                               D Commercial (31)                                Mlscellaneoue Clvll Complaint
                  D Fraud (16)                                    D Residential (32)                               0    RIC0(27)
                  D   lnlellectual property (19)                         D
                                                                       Drugs (38)                             i    [][] Other complaint (not speclf'IOd abDVB} (42) .
                  D   Plofess!onal negligence (25)                Judicial Review                      r           Mlscallaneoua CMI Peutlon
                  D   Olher noo-PI/PDM/0 tort (35)                       D
                                                                       Asset forfeiture (05)           ;           D    Parlner.ihlp and corporale governance (21)
                  Employment                                             D
                                                                       PelHlon re: arbitration award (1~)          D    Other pellllon (not spscUhJd sbovsJ (43)
                  D wrongful termination (38)                     D Writ of mandate (02)               :
                  D   Olher employmsnt (15)                              L_I
                                                                       Other Judicial review (39)
               2. This case D Is [x"] is _not complex under rule 3.400 of lhe Callfomla Rules of Court. If the case Is complex, mark lhe
                  factors ~ulrfng exceptional judicial management                                            I
                  a. D Large number of separately represented parties d. D Large nu,nber of witnesses
                  b. D Extensive motion practice. raising difficult or novel e. D Coordinton with related actions pending In one or more courts
                           IS6ues that will be time-consuming to resolve           In other unties, states, or countries, or In a federal court
                  c. D Substantial amount or documentary evidence            r. D Substan al postjudgment Judicial supervision
               3. Remedies sought (check all thst apply): a.          00
                                                                   monetary b.                D
                                                                                  nonmone~ry; declaratory or Injunctive relief c.          punitive       D
              4. Number of causes of action (specify): one
              5. This case      D    Is [xJ Is not      a class adlon suit                                   l
            . 6. If there are an)' known relaled cases, file and serve a nollce of related cas
             Date: //G'{)/2.tJ/Y
               William B. Wong.(JYPECA   SBN 120354
                                     cm PRIHT HAMEJ
                                                                                                    L..J.LJ£4......,;;;;,.,.=,=-:::=~~---d,~~~~----
                                                                                                            (SIGNATURE OF PNITYORAn  FOR PARIV)

                      ·                                                                      NOTICE       ~
                • Plaintiff must file this cover sheet with the first paper filed In the action or pr edlng (except small lalms ses or cases. fllad
                  under the Probate Code. Family Code, or Welfare and Institutions Code). (CSl.1Rules of Court, rule 3.       . allun, to file may result
                  In sanctions.·
                • File this cx,ver sheet In addition to any cover sheet required by local court rule-,
                • If iltls case Is complex under rule 3.400 et seq. of the California Rules of Cou7, you musl serve a copy of this cover sheet on all
                 other parties to the action or proceeding.
               • Unless this Is a coDectlons case under rule 3.740 or a complex case, this covepr sheet will be used for statlstlcal purposes only. . .
                                   .                                             .                                                                                  ,~z



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                                 INSTRUCTIONS ON HOW TO COMPL.t:fE IE COVER SHEET                                                    CNI-010
 To Plaintiffs and Others Flling First Papers. If you are. filing a first paper (for exemple, a complaint) In a civii tase. you ntust
 complete and file, along with your first paper, the Chr)/.Ces® Cover Sheet containe~d on page i: Tttis information will be used to complta
 statistics about the typas and numbers of c~ses filed. You must complete ftems 1 through 6 on the sheeY. In item 1, you must check
 one box for ttte case type that best desafbes the case. If the case fits both a gerieral and a more spedfic type of case Hsted in item f,.
 check.the more spedfic one. if the.66se has multiple causes of adion, chedc th~ box that beat indlcates the pdmary cause of.adion.
 To assist you in cwnpleUng the sheet, examples of the cases that belong under each case typa in item 1 are pnrrlded below. A cover
 sheet must be filed only with your ini8al paper. Farlure to file a cover sheet with th first paper filed in a dvil case may subjed a party, its
 counsel. or both to sanctlons under rulet; 2.30 and 3.220 of the Califomle Rules o~Court.
To Parties in Rule 3.740 Collectlons Cases. A"collections case" under rede 3.7{10 Is defined•as an acHon for nscovery of money ovred
in a sum stated to be certain that is not more then $25,000, exciusive of interest nd attomey's fees, arising from a transacUon in wh)ch
pro petty, servioes, or money was acqulred on credit. A coiladions case does~ not include an actton seeking the following: ('i) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of attachment.
The IdenU6cation of a case as a rule 3.740 collections case on this form means at It will be exempt from the general tima-for-service
requirements and case management niles, unless a defendant files a responsive leading. A rule 3.740 collecUons case wiil be subject
to the.requirements forservice and obtaining a judgmant in rule 3.740.
To Pardes In Complex Cases. In complex cases only, pan9es must also use e Civi! Case Cover Sheet to designate whether the
case is complax. If a plaintiff believes the case ls complsx under rule 3.400 of tf}e Caiffornla Rutes of Cou(t, this must be Indiceted by.
compteting the appropriate hoxes in items 1 and 2. if a plalnOtf designates a casq as compiex, the cover sheet must be served with the
complalnt on all parties to the action. A defendant may 8le and senre no tater ithan the time oi its first appearance a joinder In the
plaintifPs designaUon. a counter-designation that the case is not compiex, or, If IM plainUff has mide no designaiton, a deslgnatfart that
the case is oomplex.                                 CASE TYPES AND EXAMPL
Auto Tort                                    Contract                              !         Provistonaily Complex CIvII Utigatlon (Cal.
   Auto {22}--Personal Injwy/Propsrty              Breadh of ContractlWarranty (OS) }                    Rules of Court Rules 3.400-4.403)
        DamageMbangful Death                          Breach of RentaULease                                   AntftnrsVrrade Regulation (03)
   Uninsuned Motorist (46) (1f the                       Contract (not unlawluf detalnef                      Construcllon Defect (10)
       case hrvoNas an unlnsured                           or wron8lul evtcUon)
                                                                                                              Clahns InvoN+ing Mass Tort (40)
       motorfst dalm subJeat to                       ConhacUWarranly Breach--Sell
                                                        PlaintiN (not fiaud ornegtigen )                      Securitles t.itl®ation (28)
       arbttrratlon, d►eck this ftem                                                                          EnvlronmentallToxlc Tort (30)
                                                      Negilgent Breadi of Contnrcil
       fnstead of Auto)                                                                                       insurance Covorage Ctaims
                                                         YVaffamy
Other PUPDAND (Peraonat Injuryf                       Other Breach of ContractlWarranly                           (ertsing fmm provtslonaDy complax
Tro~rty DamegetWrongful Death)                     CollecUons (e.g., money owed, openl                           case type t/sted abovo) (41)
                                                      boak aecounts) (09)                                Enforcement of Judgment
   Asbastos (04)                                      Coilection Case—Seller PlaintNf I
       Asbestos Property Damage                                                                               Enforoament of Judgmerd (20)
                                                      Other Promfssory Note/Colledio~s
       Asbestos Porsonal Injury!                             Case                                    I            Abstract of Judgment (Out of
          Wrongful Death                           lnsuranoe Covarage (not provisianetly                            County)
   Produd UabBity (not asbastos or                    COM1AW)(18)                                                 Confession of Judgmeni (non-
        tozlobnvtmnmentag (24)                        Auto Subrogation                                               domes8c rataffons)
                                                                                                 ~                Slster State Judgment
   MedIcat Malptactic® (45)                           Olher Coverage
        Medical MaipracsloB-                      Other Contract (37)                                             Administrative Agency Award
            Physicians & Surgeons                    Contradual Fraud                            i                   (not unpafd texes)
       Oiher Professlonal Health Care                Other Contract Dispute                                       PetiUonlCortiflcatlon of EMry of
            Matpractice                         Real Property                                                        Judgment on Unpaid Taxes
   Ottrer PI/PDMtD (23)                           Eminent DomalMnverse                                            Other Enfonx3rnent of Judgmartt
       Premtses Liab3riiy (e.g., slip                Condemnation (14)                           ~                   Case
            and fai)                               Wrongful Evictlan (33)                 1              Miscellaneous Clvll Complalnt
       Intentioeal Bodily InjurylPDM/D
                                                   Other Real Property (e.g., quiet titlaj (2(s)              RICO (27)
                                                    Wrtt of Possession of Reai Prop rty                       Other Complalnt (not speeifled
            (e.g., assault, vandarism)              Mortgage Foredosure
       Intenttonal lnntr.tian of                                                                                 above) (42)
                                                    Quiet TBle                                                   Dedaratory RelJef Only
            Emotlonal Distress                      Other Reai Property (rrW emtnen
       Nagpgent IntttGlon of                                                                                      Injunctive ReAaf Only (non-
                                                    domafn, tandlard!leitant, or                                      harassment)
         Emoiional Distress                         forecJosure)                   .
                                                                                                                 Mechanics Lian
      Other PitPDMtD                           Unlaw(ul Detainer
                                                                                                                 Other Commerclal Complaint
Non-PUPO1WD (Othor) Tort                          Commerdat (31)                             ~                      Case (non-tat/non-comNeY)
  Bustnoss ToRNnfalr Business                     Residential (32)                                               Other Civil Complaint
      Practce (07)                                Drugs (38) (if the case tnvoNas !!leg~al                           (non-tort/nan-oomprax)
   Chrl1 Rights (e.g., disuimination,                 drtrgs, chack U:ts ltem: otheriv(s~,               Mlscellaneous Civil PeNtlon
       false arrest) (not cfvr7                       naport as Commardat or Restda~tial)                     Partnership and Corporata
       harassment) (08)                        Judlclal Revlew                                                   GovemanoB (21)
   Detamalion (e.g., slander, libel)              Asset ForfeAure (05)                                        Other Petitlon (rtot sPecUiad
       (13)                                       Petitlon Re: ArbiUatEon Award (11) i                           aboire) (43)
   Fraud (16)                                     Writ of Mandate (02)                                           Clvg Harassment
   Inteneduai Property (19)                          Writ-Administrattve Mandamus                                Worlcplace lfiolence
   Professional Neg!lger►ce (25)                     Writ-Mandamus on Limlted Court                              Eder/t}spendent Adult
       l.egal MalpraWco                                  Case Matter                 '                               Abuse
       Other Professlonal Mafpractice                Wdt-Other Llmited Court Case                                Elactton Contest
           (rtatmeftwortegaq                             Revfew                                                  Petkion for Name Change
                                                  Other Judicial Review (39)                                     Pet,iton for ReUef from Late
  Other Non-PIIPDAND Tort (35)
                                                     Review of Heaith Oftiaer Order                                 Cialm
Employment
  Wrongful Tenninalion (36)                          Notbe of Appeat-t.abot
                                                                                                                 Other Civi! Pelitton
   Other Emptoyment (15)                                Comm)sslonerAppeals              ~
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           Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 6 of 89 Page ID #:14




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Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 7 of 89 Page ID #:15




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                                                         A6015 Insurance Coverage
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                   Other Conlrnct (37)                   A6031    Tortious Interference                                                                      1~'2;,3,·f··
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i.AGfV 109 (Rev 2J16) ·                           CIVIL CASE GOVER SHEET ADDENDUM                                                                     loca!Rute2,3
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Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 8 of 89 Page ID #:16




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                                                                             A6180 Abstrm;fof?ud~ment                                                                                            2.~,
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                                                                 · L] A6 fM                      Pelltion/Certifieate' for. E11try of ~~dgmen\ on Unpaid Tax                                     2,8
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                              spedfle(l Atiov~)(42)                                                                                                                                              2·
                                                                             A6110 Petition ror Change of,Name/C~anse of Gender                                                                  2;.7
                                                                     CJ A6170 Petillo~ for Relief from Lale. Clajm Law                                                                           "2;3:8
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LAC!V 1_09'(Rcv 21{6) . :                                       CIViL CASE,:C,0\lERSHEET AppENDUM                                                                                            · iloca!Rule 2:3\
lASC:.l\pproved 03;04                                                    AND STATEM.Etff
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         Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 9 of 89 Page ID #:17
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    . ( SHOIIT'J'lt\E:   People v. Sherwin Williams


      Step 4: Statement of Reason and Address: Check the appropriate bo~es for the numbers shown under Column C for the
                         type of action that you have selected. Enter the address which Is te basis for the filing locaUon, Including zip code.
                         (No address required for class actlon cases).                     ,                                              ·
                                                                                               '
                                                                                MIDREGS:
           REASON:                                                              South coastiAir Quality Management District
          01.02.03.04.05.DB.07.08.009.010.011. 21865 COple~ Drive
                                                                                               I
                                                                                Diamond Bar! CA 91765

           CIIY:                                       STATE:   ZIPCODE:
                                                                                               I
                                                                                               I
           Diamond Bar                                 CA       9176S                          !
                                                                                               I
     Step 5: Certification of Assignment: I certify that this case Is properly flied In the Bast Judicial                            District of ·
                        the Superior Court of Callfomla, County of Los Angeles [Code Clv. ~roe., §392 et seq., and Local Rule 2.3(a)(1)(E)J.

                                                                                            !

        Dated:




        PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY
        COMMENCE YOUR NEW COURT CASE:
                                                                                           ~1·0 BE FILED IN ORDER· TO PROPE
                 1. Original Complaint or Petition.                         ·              i
                 2. If filing a Complaint, a completed Summons form for Issuance by        the Clerk.
                 3. Clvll Case Cover Sheet, Judicial Council form CM-010.
                 4. Civil case Cover Sheet Addendum and Statement of Location fo. m, LACIV 109, LASC Approved 03-04 (Rev.
                     ~~                                                                    i

                 5. Payment in full of the fiRng fee, unless there Is courtorderforwatverl partial or scheduled payments.
                 6. A signed order appointing the Guardian ad Utem, Judicial Council form CN-010, If the plaintiff or petitioner Is a
                    minor under 18 years of age will be required by Court in ordeir to; Issue a summons.
                 7. Additional copies of documents to be conformed by the Clerk. qoples of the cover sheet and this addendum
                    must be served along with the summons and complain~ or othe~ lnlUaUng pleading In the case.




        LACIV 109 {Rev 2/16)                        CIVIL CASE COVER SHEET DDENDUM                                       Local Rule 2.3
        LASC Approved 03-04                            AND STATEMENT OF LO ATION                                            Page4 of4


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Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 10 of 89 Page ID #:18

 l




      I OFFICE OF THE GENERAL COUNSEL         .
        SOUTH COAST AIR QUALITY MANAGEMENT DI$TRICT
      2 WILLIAM B. WONG, SBN 120354           !
        PRINCIPAL DEPUTY DISTRICT COUNSEL
      3 21865 Copley Drive
        Diamond Bar, California 9176S


                                                                    l
      4 TEL: 909-396-3S3S • FAX: 909-396-2961
                                                                                   ot ~o t\l'~
      S Attorney for Plaintiff                                                    ~           o\\\ce11C\~
                                                                                                 0
        People of the State ofCf;llifomia                                  ~a.cas\et,EY-~a.D P~
      6                                                                   s~~~

      7                          SUPERIOR COURT OF I ALIFORNIA
      8                   COUNTY OF LOS ANGELES,
                                                   i
                                                             EASr
                                                      JUDICIAL DISTRICT
      9
         PEOPLE         OF THE         STATE              cAsEko. 18PSCV00136
     10 CALIFORNIA, ex rel SOlITH COAST
     l l QUALITY MANAGEMENT. DISTRICT,                               '
                                                          COMliLAINT FOR ClVIL PENALTIES
         Public Entity,                                   District Rules 1113, 1168, 1143;
     12                    . Plaintiff,                   Healthrd Safety Code§§ 42402, 42402.l(a).
                 vs.                                      42402.I (a), and 42402.J(a)
     13
         'IHE SHERWIN-WILLIAMS COMPANY,
     14 an Ohio Corporation, and DOES 1 throu                NO REE PER GOV. CODE
         50, lnclusiv«;                                          !SECTION 6103
     IS
                             Defendant.                   DE~: $30,000,000
     16
                                                          (Filing rees Exempt, Per Gov't Code§ 6/03)
                                                                                                                -· ''it
     17                                                                                                              'i
                                                                    I                                                 •
     18                                                             r       CASE ASSIGNED FOR                        r



     19
                                                                            ALL PURPOSES TO
                                                                    .       JUDGE PETER A. HERNAND
     20
                 The People of the State ofCalifbmia, on the relf°" of theQERJi,fil COAST AIR
     21
          QUALITY MANAGEMENT DISTRICT, seek to              recoler civil penalties from defendants,
     22
          demand verified answers pursuant to California Code o'f Civil Procedure §446(a), and allege as
     23
          follows:                                               r
     24
                                            COMMON ALLEd~TIONS
     25          1.     At all times herein mentioned, plaintiff SOUTH COAST AIR QUALITY
     ~
          MANAGEMENT DISTRICT (hereinafter referred to          asI "DISTRICT''), was and is organized and
     ~                                                           I
          existing pursuant to Division 26, Part 3, Chapter S.S ofithe California Health and Safety Code.
     28                                                         I                                           .
                                                                I




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Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 11 of 89 Page ID #:19
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                                                                                     I
                     2.       The District is responsible for regulatinglnon-vehicular air pollution and emissions
           2 in those portions of the Counties of Los Angeles,   orans,b, Riverside, and San Bernardino included
                                                                                 I
          3 in the South Coast Air Basin, as described in California/Health and Safety Code (hereafter "Health
          4 and Safety Code") section 40410 and Title 17 of the c4romia Code of Regulations section 60104

          5 (''the Basin").
          6          3.       Purs~t to Health and Safety Code sect~on 41513, the DISTRICT may bring a
                                                                                 i
          7 civil action in the name of the People of the State ofCaJifomia to enjoin any violation of

          8 DISTRICT rules. In addition, under Health and Safety ~ode section 42403, the DISTRICT may
          9 bring a civil suit in the name of the People for civil pen~ties ~der Health and Safety Code,
          IO Division 26, Part 4, sections 42402, 42402.1, 42402.2, rd 42402.J(a) for violation of DISTRICT
      11 rules.                                                               i
      -12            4.- - · Defendant The Sherwin-Williams Com~any ("Sherwin Williams") is a 15 billion
      13 dollar Ohio corporation which, directly or through affiliates and other entities, does or did
                                                                             !
      14 business in its own capacity in the Basin (collectively r~ferred to as "Facilities"). From its
                                                                             l
                                                                             i
      15 Facilities and other locations that did business within and/or serviced the Basin, Sherwin Williams
                                                                             I
      16 supplied, offered for sale, and sold architectural coatinis, adhesives or sealants, and consumer
                                                                         ·'
      17 multi-purpose solvents or paint thinners containing extssive Volatile Organic Compounds

      18 (hereafter "VOCs") to individuals, businesses and other entities located in the Basin.
      19             S.       Sherwin Williams is a "person" as de+ in Health and Safety Code section
      20 39047 and all applicable District rules.                        /
      21             6.       Sherwin Williams is, and at all times re~evant to the claims in this Complaint, was
                                                                         I
      22 responsible for compliance with the provisions of DISr.cr Rules 1113, 1168, 314, and 1143, as
      23 well as Health and Safety Code, Division 26, Part 4, s~tions 42402, 42402.l(a), 42402.2(a), and
                                                                     I

      24 42402.3(8).                                                 I
      25             7.       In this Complaint when reference is ma~e to any act or omission of Sherwin
                                                                     i
      26 Williams, such allegations shall include the acts and ofuissions of owners, officers, directors,
                                                                     I
                                                                     j

      :       agents, employees, contractors, vendors, affiliates, anior representatives of Sherwin W"dliams



                                               COMPLAINT ~lC(i PllNALTIES
                                                          18
Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 12 of 89 Page ID #:20
  ,

           I while acting within the course and scope of their emplo}1nent or agency on behalf of Sherwin
       2 Williams.

       3            8.      The identities of DOES 1-50 are unknown to Plaintiff at this time. At such time as
       4 the Identities of DOB defendants become known, Plaintit. will amend this Complaint accordingly•.
       s     DOES 1-50 are, and at all times relevant to the claims in :this Complaint were, legally responsible
       6 for compliance with DISTRJCT Rules 1113, 1168, 314, 1id 1143, as well as the provisions of
                                                                             I
       7 Health and Sarety Code, Division 26, Part 4, sections 4102, 42402. I (a), 424022(a), 42402.J(a).
       8            9.     At all times relevant hereto, DOES 1-25 ~ere in a position of responsibility
                                                                         i

       9 allowing them to influence corporate policies or activitier with respect to Sherwin Williams'
      10 compliance with California environmental laws and regq]ations at its Facilities and in the conduct
      11 ofits business in the State of California, and bad, by 1°n of their position in the co,poration,
      12 responsibility and authority either to prevent in theJirst r c e , or promptly correct, the
      13 violations complained of herein, but failed to do so. In #dition to any direct personal liability of
                                                                         i
      14 these individuals, DOES 1-25 also are personally liable under the "responsible corporate officer
      15 doctrine,, for violations oflaw committed by Sherwin Jmiams as alleged herein.
      16                                     JURISDICTION~ VENUE
      17            l 0.   Venue is proper in this County pursuant tp Health and Safety Code section 42403,

      18 in that violations alleged in this Complaint occurred in ilie County of Los Angeles and throughout
                                                                        I
      19 the Basin. The Court has jurisdiction pursuant to Arti~I6; section l O of the California
      20 Constitution and section 393 of the Code of Civil Pro           ure.

      21                        STATUTORY AND REGULAT                  Y BACKGROUND
                                                                     I
      22            11.    The State of California ("State") has enadtcd a comprehensive statutory and
                                                                     I                                   .
      23 regulatory framework designed to control air pollution and protect ambient air quality in the State.
                                                                     !
      24 This framework is contained in Division 26 of the Health and Safety Code and the rules,
      25 regulations, orders and permits adopted pursuant theretJ by the State Board and by air pollution
      26 control districts ("APCDs"); Title I7 of the California dode
                                                                  I
                                                                      of Regulations, Division 3; Title 13
                                                                    I


      27 of the California Code of Regulations, Division 3; and olither miscellaneous provisions of la~
      28 related to the control of air pollution in the State.   ,
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                                             COMPLAINT FOR CML rALTIBS


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Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 13 of 89 Page ID #:21
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        l        · 12.    Pursuant to Health and Safety Code      secti1n 40000, local and regional APCDs are
        2 responsible for controlling air pollution from all sources within their jurisdiction, other than

        3 emissions from motor vehicles which are regulated by th~ State Board.
                                                                         !
        4          13.    Pursuant to Health and Safety Code sectiin 40001(a), APCDs are required to adopt .
       5 and enforce rules end regulations to achieve and maintain State and Federal ambient air quality
       6 standards in all areas affected by emissions sources undt their jurisdiction.
       7          14.     As set forth in paragraphs I and 2 above,      f e DISTRICT is a state-created APCD.
       8          15.     Pursuant to California Health and Safety fode section 40001(a}, the DISTRICT
                                                                         '
       9 has adopted the Rules and Regulations of the South Co~ Air Quality Management District
      10 ("RULES"), including Rules 1113, 1168, 314, and 1143 irelating to architectural coatings,

      11 consumer multi-pmpose solven~ and paint thinners, adh~ives and sealants and their primers.
      12       _ · 16.   _Collectively, architectural coatings, const.er paint thinners, consumer multi-
      13 pwpose solvents, adhesives and sealants and their prim              , constitute one of the largest non-
      14 mobile so~ ofVOC emissions in the Basin. The DisbucT estimates that these sources

      IS generate approximately 11 tons per day ofVOC emissio)ls.
      16          17.    RuJe 1113 regulates architectural coatingt which contain voes, which change
      17 from liquid to gas when exposed to air. Architectural cJatings are any coatings applied to

      18 stationary structures and their appurtenances. They inclid~, but are not limited to, primers, paints,
      19 sealers, shellacs, wood coatings, preservatives, lacqued, varnishes, stains, roof coatings, and
      20 finishes that have traditionally been applied to the interi~r and ~terior ofbuildings,·including but
      21 not limited to, hand railings, cabinets, bathroom and kitJhen fixtures, swimming pools, roofs,
      22 fences, rain-gutters and down-spouts, window screens, l~p-posts, heating and air conditioning
      23 equipment, other mechanical equipment, large fixed sta~ionary tools, signs, motion picture and
      24 television production sets, concrete fonns, mobile homes, pavements, or curbs. Rule 1113 was
      25 first ~dopted in 1977, shortly after the DISTRICT was £tnned. DISTRICT Rule 1113 was adopted
      26 for the purpose of reducing voe emissions in the Basi,. A true and correct copy of Rule 1113 is
      27 attached as Exhibit A and incorporated herein.              I
      28
                                                            -4-      i
                                           COMPLAINT FOR     CIVILIPl!NALTIES
                                                       20
Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 14 of 89 Page ID #:22
  ,

        1          18.     Rule I 143 regulates consumer paint    thinnFrs and multi-purpose solvents, which
                                                                                 I



       2    also contain voes that are emitted into the air.   Consum¢r paint thinners are generally liquid
       3 products used to reduce the viscosity of coatings. Consl!uner multi-purpose solvents are generaliy
                                                                                 I                                       .
       4 liquid products used for dispersing organic materials. R~e 1143 was first adopted in 2009 also
       5 for the purpose of reducing voe emissions in the BasinJ A true and correct copy of Rule 1143 is
                                                                             I                         .
       6 attached as Exhibit B _and incorporated herein.                     ·
       7           19.     Rule 1168 regulates adhesives, sealants   1d              their primers, which also contain
       8 VOCs that are emitted into the~- Adhesives are genenµty substances used to bond one surface
                                                                             1
       9 to another. Sealants are generally materials with adhesiie properties use to fill gaps between two
      10 surfaces. Rule 1168 was first adopted in 198 9 also for the purpose of limiting VOC emissions in
                                                                             I


      ll the Basin. A true and correct copy of Rule I 168 is attached as Exhibit C and incorporated herein.
                                                        .                    I
      12           20.     VOC emissions contribute to the fonnatiJn of ozone and particulate matter, two~-
      13 pollutants regulated by State and Federal ambient air qu!Iity standards. The Clean Air Act
                                                                         I                         .
      14 requires the United States Environmental Protection Ag~ncy (hereafter "USEPAj to set air

      15 quality standards to protect both public health and the pJblic welfare (e.g. crops and vegetation).
                                                                         I


      16 Oz.one and particulate matter both exceed the State and ~ational ambient air quality standards in
      17 the Basin. They are one of the Basin's most seriou~ reg,onal air quality problems and among the
                                                                         I



      18 most difficult pollutants to reduce to healthful levels.
      19           21.    VOCs react photochemically with oxid1 of nitrogen (NOx) to fonn ozone. Ozone

      20 is a strong oxidizer that irritates the human respiratory system· and damages plant life. VOCs also
      21 react in the atmosphere to form particulate matter, a polttant which adversely affects human

      22 health and limits visibility. Since these small particulat penetrate into the deepest regions of the
                                                                !
      23 lungs, they affect pulmonary function and have been lin~ed to increased deaths. Several health
      24 related studies show a significant increase in hospital e~ergency room visits during warm and
                                                                     I
      2S smoggy days. Research shows this increase is a direct ~esult of higher ozone and particulate
      26 matter concentrations.

      27
      28



                                                        21
     Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 15 of 89 Page ID #:23
·,     "
                                                                                   I

             I           22.     Pursuant to Rule l I 13(c)(l), a persons:tot supply, sell, or offer for sale any . _· ..
             2 architectural coating listed in the Table of Standards that I ntains VOCs in excess of the specified
             3 VOC limit, after the effective date stated.in the Table.        :
             4           23.     Pursuant to Rule l 143(d)(l), a persons~ not supply, sell, or offer for sale any • ·
                                                                               i
             5 consumer paint thinner or multi-purpose solvent that contains VOCs in excess of the specified
                                                                               !
                                                                               :            .


             6   voe limit listed in the Table of s1andards, after the e ~ date slated in the Table.·                                  .
             7           24.     Pursuant to Rule l 168(c)(l), a person                not supply, sell, or offer for sale any

             8 adhesive or sealant or their primers listed in the Table offtandards that contains VOCs in excess

             9 of the specified VOC limit, after the effective date   stated/~ the Table.
            10                                      GENERAL ALLEG.,TIONS
            11           25.    On March 18, 2015, Defendant was serveh with Notice ofViolation{NOV) P61803
                                                                           I
                                                              •            I

           _ 12. for exceeding the applicable voe limits specifi~ Jn Rt$' 1113. A true_copy of NOV P61803
                                                                                                    -  -
                                                                                                          is           -               --

            13 attached hereto as Exhibit D.                               I
            14          26.     On May 20, 2015, Defendant was served      Mth Notice of Violation (NOV) P5S313
            15 for exceeding the applicable VOC limits specified in R e 1168. A true copy of NOV P55313 is
               attached hereto as Exhibit E.
            16
                        27.     On June 16, 2016, Defendant was served             ith Notice of Violation (NOV) P64805
            17
                 for again exceeding the applicable VOC limits _specified in Rule 1113. A true copy of NOV P64805
            18
                 is attached hereto as Exhibit F.
            19
                        28.     On September 9, 2016, Defendant was se ed with Notice of Violation (NOV)
            20
                 P64808 for exceeding the applicable VOC limits specifi                in Rule 1143. A true copy of NOV
            21
                 P64808 is attached hereto as Exhibit G.
           22
                        29.     At all times relevant to this Complaint,    fendants offered for sale and/or sold
           23
                 and/or supplied within the Basin architectural coatings, dhesives, sealants, conswiler multi-
           24
                 purpose solvents and/or paint thinners containing VOCs in excess of regulatory limits.
           25
                        30.
           -26 will move to amend the Complaint as may be warran
           27
                                                                      ·4
                                The DISTRICT is continuing its investigation into the matters alleged herein and
                                                                           by the discovery of additional                        . .
               information.
       . :·.28



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Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 16 of 89 Page ID #:24

  "

           1          31.      Plaintiff is infonned and believes, pursu8Di~ to Health & Safety Code section
                                                                                 I
        2 42404.5 that all violations alleged and expected to be proven are within the relevant statute of

        3 limitations. As a precaution, however, Plaintiff and She+m Williams have entered into an
       4 agreement to toll any applicable statutes oflimitations,        4d any and all days covered by that
        5 agreement will not be included in computing the time liniited by any statutes of limitation
                                                                                 I


       6 applicable to the causes of action and violations alleged ~gainst Sherwin Williams.

       7                                          FIRST CAUSE OF A~::noN
       8                              VIOLATION OF DISTRICT R~E lll3 (SALE)
       9                    STRICT LIABILITY - HEALffl & SAFijTY CODE SECTION 42402

      IO              32.     Plaintiff realleges paragraphs I through   4           inclusive,
      11              33.     District Rule 1l 13(c)(l) prohibits the sale;of architectural coatings containing
      12       voes in excess of specified limits.
      13              34.     Health and Safety Code section 42402 et    teq prohibits any person from violating
      I4 any rule, regulation, permit or order of an air district, including a district hearing board, including
      15 South Coast Air Quality Management District Rule 111            i.
      16              35.     Plaintiff is informed and believes that wi'rn the three years preceding the date of
      17 discovery of violations and continuing thereafter, Defendants, and each of them, have sold for use
                                                                             I
                                                                             I
      18 within the Basin architectural coatings containing excessive voes in violation of District Rule
                                                                         I
      19 1113.                                                           I

      20             36.      Each container of coating sold containinglexcessive voes in violation of District
      21 Rule 1113 is a separate violation. Each day during any irtion of which Defendants, and each of
                                                                         !

      22 them, violated Rule 1113 is a separate violation.
      23                                       SECOND CAUSE OFiCTION
      24            VIOLATION OF RULE 1113-EMISSION O AN AIR CONTAMINANT AND
      25                        KNOWING FAILURE TO TAKE C RRECTIVE ACTION

      26                                  HEALTH & SAFETY coJE §42402.?(a)
                                                                         !
      27             37.      Plaintiffrealleges paragraphs 1 through 3t2, and 34, inclusive.

      28                                                                 I
                                                COMPLAINT FOR CIVIL,

                                                            23
Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 17 of 89 Page ID #:25


                                                                                     '            '

                 38.       Health and Safety Code section 42402.2(~ prohibits the emission of an air
       2 contaminant in violation of Part 4 of Division 26 or any rule, regulation, permit, or order ~fthe
       3 State Board or of a District pertaining to emission regular.ons or limitations and, knowing of the
       4 emission, fails to ta1ce corrective action within a reasonatile period of time under the .
                                                                                 I
                                                                                 !
        5 circumstances.                                                         /                                              .
       6         39.       Plaintiff is infonned and believes that that within the three years preceding the date
                                                                             I

       7 of discovery of violations and continuing thereafter, Def~ndants, and each of them, emitted air
       8 contaminants by selling architectural coatings containinJ excessive voes to customers in
                                                                             I



       9 violation of Rule 1113, knowing that the customers wo~d open and use those non-compliant
      10 products within the Basin. Moreover, Defendants, and e~ch of them, knew of these ~ssions                          and.
      11 knowingly failed to take corrective action within a reasof18ble period of time.
 -- - -12        40.       Each container of coating sold containinJ excessive voes in violation of District
                                                      .                      !
      13 Rule 1113 is a separate violation. Each day during any portion of which Defendants, and each of
      14 them, violated Rule 1113 is a separate violation.               I
                                                                         !
      15                                     THIRD CAUSE OF ACTION

      16    VIOLATION OF RULE 1113-NEGLIGENT E~SION OF AN AIR CONTAMINANT·
                                                                         I
      17                               HEALTH & SAFETY CO~E §42402.l(a)

      18         41.    Plaintiff reallegcs paragraphs I through     +·                  and 34, inclusive.
      19         42.    Health and Safety Code section 42402.1 (a) prohibits the negligent emission of an

     20 air contaminant in violation of Part 4 of Division 26 or     f   I

                                                                                     y rule, regulation,.penni~ or order offh:e
     21 State Board, or of a District pertaining to emission reg                 lions or limitations.

     22          43.    Plaintiff is informed and believes that th t within the three years preceding the date
     23 of discovery of violations and continuing thereafter, De endants, and each of them, have
     24 negligently emitted air contaminants by selling architeclural coatings containing excessive voes
     25 to customers in violation of Rule 1113, knowing that th customers would open and use those
                                                                     I
                                                                     I
     26 non-compliant products within the Basin.

     27                                                                                                                     ....~ ~-   .


     28
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                                            COMPLAINT FOR CIVIL ENALTIES


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Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 18 of 89 Page ID #:26



      l       44. · Each container of coating sold containing ~xcessive VOCs in violation:of District
                                                               i
     2 Rule 1113 is a separate violation. Each day during any pprtion of which Defendants, and each of
                                                                                '
      3 them, violated Rule 1113 is a separate violation.                       f
                                                                                I
                                                       •                        I
     4                                    FOURTH CAUSE OF ACTION
                                                          I

     5                VIOLATION OF DISTRICT RULE 11 l~ (OFFERING FOR SALE)
     6                   STRICT LIABILITY - HEALTH & ~AFETY CODE §42402
                                                                            I


     7          45.     Plaintiff realleges paragraphs 1through 3i inclusive.
     8          46.     District Rule 1l 13(c)(l) prohibits the offJmg for sale of architectural coatings
     9 containing voes in excess or specified limits.                       I
    10          47.     Health and Safety Code section 42402 et ~eq prohibits any person from violating
                                                                            I
                                                                            !
    11 any rule, regulatio~ permit or order of an air district, including a district hearing board, including ·
    ll South Coast Air Quality Management Dislri~_Rule_l 11~.                       _          _ _       _ __ _
    13          48.     Plaintiff is infonned and believes that ~ within the three years preceding the date ·

    14 of discovery of violations and continuing !hereafter, Def~ants, and each of them, have offered
    15 for sale for use within the Basin architectural coatings ]ntaining excessive voes in violation of
    16 District Rule 1113.
    17          49.    Each container of coating offered to bes Id containing excessive voes in
    18 violation of District Rnle 1113 is a separate violation. +h day during any portion of which
    19 Defendants, and each of them, violated Rule 1113 is a sq,arate violation.

    20                                     FIFf~ CAUSE OF ~CTION
    21                 VIOLATION OF DISTRICT RULE                 uks- STRICT LIABILITY
                                                                        I


    22                                 HEALTH & SAFETY            C?DE §42402
    23          50.    Plaintiff realleges paragraphs 1 through 3r, inclusive.

    24          51.    District Rule 1168(c)(l) prohibits the    salt, distribution, or offering of sale of
    25 adhesives, or sealants containing voes in ex~ of ther specified limits.
    26         52.     Health and Safety Code section 42402 etiseq prohibits any pefS9n from violating . ·

    27 any rule, regulation, permit or order of an air district, in~uding a district hearing board, including'·
    28 South Coast Air Quality Management District Rule 116 .
                                                           -9-
                                          COMPLAINT FOR CIVIL BNALTIES
                                                                    Ii
                                                                    I
                                                      25
Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 19 of 89 Page ID #:27



      I          53.    Plaintiff is informed and believes, and baseµ thereon alleges, that Defendants, and
      2 each of them, offered for sale or sold an adhesive and s~ant for use that exceeded the applicable·
                                                                               I

      3   voe limits so as to be in violation of District Rule 1168.i
      4          54.     Each container of adhesive or sealant soldi or offered to be sold containing
      S excessive VOCs in violation of District Rule 1168 is a ~ violation. Each day during any
      6 portion of which Defendants, and each of them, violated ftule 1168 is a separate violation. ·
     7                                      SIXTH CAUSE OF A~ON
                                                                           I

      8      VIOLATION OF RULE 1143- NEGLIGENT EMI~SION OF AN AIR CONTAMINANT

     9                               HEALTH & SAFETY COD~ §42402.l(a)      I
                                                                           I

    10           55.     Plaintiff realleges paragraphs I through 32, inclusive.
    11           56.     District Rule 1143 prohibits the sale, supJly, or offering of sale of consumer multi-
    12 pwpose solvents or paint thinners containing VOCs in e,r;cess of their specified limits.
                                                                          i
    13           57.     Health and Safety Code section 42402 et ~eq., prohibits any person from violating
                                                                       '
    14 any rule, regulation, pennit or order of an air district, incJuding a district hearing board, including
                                                                       i
                                                                       I

    15 South Coast Air Quality Management District Rule l 14~.
    16           58.   Plaintiff is infonned and believes, and basM thereon alleges, that beginning on and
    17 about January I, 2015, Defendants, and each of them, so~d a multi-purpose solvent that exceeded
                                                                      I


    18 the applicable voe limits so as to be in violation of District
                                                                !
                                                                      Rule l J43, knowing that the
    19 customers would open and use those non-compliant pn>4ucts within the Basin. Moreover,
                                                            .      I
    20 Defendants, and each of them, knew of these emissions ~d knowingly failed to talce corrective
                                                                   I
    21 action within a reasonable period oftime.                   I
                                                                   I
                                                                   I
    22           59.    Each container of multi-purpose solvent ~r paint thinner sold containing excessive
                                                                   I
    23 VOCs in violation of District Rule 1143 is a separate viJiation. Each day during any portion of
                                                                  !
    24 which Defendants, and each of them, violated Rule I 14~ is a separate violation.

    25 II                                                         i
                                                                  !
    26 II
   · 27 //
    28 //

                                          COMPLAINT FOR CIVIL


                                                       26
Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 20 of 89 Page ID #:28



         t                               SEVENTH CAUSE oFIAcrioN
                                                                         !

      2         VIOLATION OF RULE 1143 - WILLFUL AND INTENTIONAL EMISSION
                                           .                             I
      3                                   OF AN AIR CONTAMINANT
                                                                         i

      4                               HEALTH & SAFETY CQDE §42402.3(a)
                                                                         r

      5         60.     Plaintiff realleges paragraphs 1 through 3f, and 56-60, inclusive.
      6         61.     Plaintiff alleges that Defendants, and eac~ of them, were placed on prior notice that
      7 sales of the multi-purpose solvent or paint thinner in the,Basin exceeded VOC limits in Rule 1143,
      8 and despite that notice, Defendants and each of them colitinued to willfully sell the illegal product
     9 in the Basin, knowing that the customers would open an~ use those non-compliant products within
                                                                     I
     IO the Basin and thereby intentionally caused these excess emissions.
                                                                     !
                                                                     '
    11          62.     Each container of multi-purpose solvent ?r paint thinner sold containing excessive
    12. VOCs in violation of District Rule .1143 is a separate vi~lation. Each day during any portion of
    13 which Defendants, and each of them, violated Rule 1143 is a separate violation.
    14                                  PRAYER FOR JLIEF
                                                             i
    15          WHEREFORE, Plaintiff prays for the following /relief as to each Defendant:
    16                ON ~LAINTIFF'S FIRST, FOURTH, FrH CAUSES OF ACTION
    17          1.     For civil penalties as prescribed in California Health and Safety Code section
    18 42402 in the amount of Ten Thousand Dollars ($10,000) per violation for each and every day of
                                                                 r

    19 violation, in an amount according to proof;
                                                                 I

    20                        ON PLAINTIFF'S SECOND ctUSE OF ACTION
    21         2.      For civil penalties as prescribed in Calif9mia Health and Safety Code section
                                                                 i
    22 42402.2 in the amount of Forty Thousand Dollars ($40,~00) per violation for each and every day
                                                            .    I
    23 of knowing violation without corrective action in an amount
                                                              I
                                                                   according to proof;
                                                                 l
    24                  ON PLAINTIFF'S THIRD AND S~H CAUSE OF ACTION
    25         3.     For civil penalties as prescribed in Califqmia Health and Safety Code section
                                                                 I

    26 42402.1 in the amount of Twenty-Five Thousand Doll~       ' ($25,000) per violation for each and

    '1:1 every day of negligent violation in an amount accordin~ to proof;
    28 II
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              Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 21 of 89 Page ID #:29
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                .

                       1                 ON PLAINTIFF'S SEVENTH CAUSE OF ACTION
                      2            4.    For civil penalties as prescribed in Califotia Health and Safety ~ode section
                      3 42402.3 in the amount of Seventy-Five Thousand Dollaf$ ($75,000) per violation for each and
                      4    ever/ day ofwillful and intendonsl violation in an am+ accotding to proof
                      s                                    ON ALL CAUSES OF ~CTION
                      6            4,    . A preliminary and ponnanent injuncdon,j..ued pursuant to Health and Safety                .
                      7 Code section 41513, requiring Defendants, and each of Jem, to comply with those provisions of
                                                                                           I
                      8 Health and Safety Code, Division 26, Part 4 and implem nting rules and regulations, which

                      9 Defendants, and each of them, are alleged to have viola                .
                     10            5.    For costs of suit incurred herein includin , but not limited to, Plaintiffs costs of
                     11 inspection, investigation, attorneys' fees, enforcement, prosecution, and suit herein; and
- ------ --     . __ _12     ...... 6-   For such other and further relief IIS die   lmt           deems just and proper.
                    13
                                                                                      j


                    14                                                                'i
                           DATED: November 30, 2018                         SOUTI-l COASTAIR QUALITY
                    15                                                        MANIAGEMENT DISTRICT
                                                                                      I

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                                                                              I
                                                                              I
                              (Adopted Sept. 2, l 977)(Amended       04c.
                                                                   2, l 977)(Amended Feb. 3, 1978)
                             (Amended Sept. 51 1980)(Amended Apr. 3, 198l)(Amcnded July 3, 1981)
                                          (Amended byCalifomia~Resources Board Oct. 21, 1981)
                          (Amended Aug. 5, l983)(Amended Mar~ 16, 1984)(.Alnended Aug. 2, 198S)
                             (Amended Nov. 1, 1985)(Amended fi"Fb· 6,:1987)(AmcndedJan. S, 1990)
                            (Amended Feb; 2, 1990)(Amended Nqv. 2, 1990)(Aniended Dec. 7, 1990)
                ·      (Amended SepL 6, 199l)(Amended March 18, 1996)(AmCJided August 9, 1996)
                                    (Amended November 8, 19~(Amended May 14, 1999; Vacated)
                  (Amended July 20, 2001 )(Amended December 6, 0.02)(Amended December 5, 2003)
                            (Amended July 9, 2004)(Amended J e ~-. 2006)(Ame_nded July 13, 2007)
                                                   (Amended June 3, 011 )(Amended September 61 2013)
                                                                          (Amended February 5, 2016)

      RULE 1113. ARCHITECTURAL COATINGS
      (a)      Applicability
                This rule is applicable to any person who supplies sells, markets, offers for sale, or
                manufactures any architectural coating that is int~ed to be field applied within the
                District to stationary structures or their appurtenance~, and to fields and lawns; as well as
            - · any person who applies; stores at a worksite, ~r solicits the application -of--any
                architectural coating within the District. The purpofe of this rule is to limit the VOC
                content of architectural coatings used in the District. :
                                                                          '

     (b)       Definitions
               For the purpose of this rule, the following definitions ~hall apply:                        _
               (1)    AEROSOL COATING PRODUCT                   mcanJ    a pressurized coating product
                      containing pigments, resins, and/or other cocltings
                                                                       I
                                                                              solids that dispenses product
                       ingredients by means of a propellant, and i~ packaged in a disposable aerosol
                      container for hand-held application. or for j use in specialized equipment for
                      ground marking and traffic marking applications.
                                                                       I
               (2)    ALUMINUM ROOF COATINGS are roof co.tings containing at least 0.7 pounds
                      per gallon (84 grams per liter) of coating ~ applied, of elemental aluminum
                      pigment.                                        I
               (3)    APPURTENANCES are accessories to a s~ionary structure including, but not
                      limited to: hand railings, cabinets, bathrooJ and kitchen fixtures, fences, rain-
                      gutters and down-spouts, window sere+, lamp-posts, beating and air
                      conditioning equipment, other mechanical eq~ipment, large fixed stationary tools,
                      signs, motion picture and television productioh sets, and concrete forms.
               (4)    ARCHITECTURAL COATINGS are any col~ings applied to stationary structures
                      or their appurtenances, or to fields and lawns.
                        '                                             '
                                                                                                                             .     ·..   •.
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                                                     1113-1                                                                                        . . -~..~'
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                                                                        /
      Rule 1113 (Cont)                                         (/mended February S, 2016)

            (5)     BELOW-GROUND WOOD PRESERVAfIVES are wood preservatives
                    formulated to protect below-ground wood.         i
            (6)     BITUMINOUS COATING MATERIALS jare black or brownish coating
                    materials, soluble in carbon disulfide, consisting mainly of hydrocarbons and
                   which.are obtained from natural deposits, or as residues from the distillation of
                   crude petroleum oils, or of low grades of coal.
            (7)    BITUMINOUS ROOF PRIMERS are pruners formulated for or applied to
                   roofing that incorporate bituminous coating Jteriats.       .
            (8)    BOND BREAKERS are coatings fortnulate<l for or applied between layers of
                   concrete to prevent the freshly poured top la~er of concrete from bonding to the
                   substrate over which it is poured. Bond breakrrs will be ex~mpt from Rules 1113
                   and 314 upon adoption of Rule 1161 - Releasi Agents or any other Regulation X1
                   rule limiting the voe content of bond breake?.
            (9)    BUILDING ENVELOPE is the ensemble of dxterior and demising partitions of a
                                                                   I
                   building that enclose conditioned space.       i
            (10)   BUILDING ENVELOPE COATINGS are fl~id applied coatings applied to the
                   building envelope to provide a continuous babierI
                                                                       to air or vapor leakage through
                   the building envelope that separates condi~oned from unconditioned spaces.
                   Building Envelope Coatings are applied to 4iverse materials including, but not
                   limited to, concrete masonry units (CMW, oriented stranded board (OSB),
                   ~s~ board, and wood substrates and
                   cntena:
                                                             m1'    I        .


                                                                  t meet the :fo~lowing performance

                   (A) Air Barriers fonnulated to have an ~r permeance not exceeding 0.004
                                                                I
                          cubic feet per minute per square foot tder a pressure di~crential of 1.57
                          pounds per square foot (0.004 cfm/ft2l® 1.57 pst), [0.02 liters per square
                          meter per second under a pressure diq-erential of 75 Pa (0.02 IJ(s m2) @
                          75 Pa)] when tested in accordance wi~ ASTM 82178; and/or
                   (B)    Water Resistive Barriers fonnulatetto resist liquid water that has
                          penetrated a cladding system from fu er intruding into the exterior wall
                          assembly and is classified as follows:                                   ·
                          (i)     Passes water resistance testing ccording to ASTM E33 I, and
                          (ii)    Water vapor permeance is cl~ified in accordance with ASTM
                                  E96/E96M.                     II
           (11)    COATING is a material which is applied to ~ surface in order to beautify, protect,
                   or provide a barrier to such surface.         i
           (12)    COLORANTS are solutions of dyes or.suspe~ions of pigments.
                                                                I
                                                                i
                                              , 1113-_2



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      Rule 1113 (Cont.)                                         <tmended February 5, 201')
                                                                     i
            (13)   COLOR INDICATING SAFETY COATINGS are industrial maintenance
                   coatings for safety management of process ~treams to prevent or minimize the
                   consequences of the release of toxic, reactive,/tlammable or explosive substances,
                   and include chemical and thennal color indicJing coatings.·
            (14)   CONCENTRATES are coatings supplied i±a Conn that.must be diluted with
                   water or an exempt compound, prior to appli tion, according to the architectural
                   coatings manufacturer's application instruc ons in order to yield the desired
                   coating properties.                            !
                                                                  !

            (15)   CONCRETE-CURING COMPOUNDS are ~atings formulated for or applied to
                   freshly. poured concrete-' to retard the evap ration of water. Concrete-curing
                   compounds manufactured and used_f~r road ays and bridges (does not include
                   curbs and gutters, sidewalks, islands, drivewar and other miscellaneous concrete
                   areas) are those concrete-curing compounds f:hat meet ASTM Designation C309,
                   Class B, and meet a loss of water standard oflless than 0.1S-kg/m2 in 24 hours as .
                   determined by the California Transportation ~epartment, California Test 534.--- --· -----
            (16)   CONCRETE SURFACE RETARDERS aricoatings containing one or more
                   ingredients such as extender pigments, prima , pigments, resins, and solvents that
                   interact chemically with the cement to prevent hardening on the surface where the
                   retarder is applied, allowing the mix of ce~ent and sand at the surface to be
                   washed away to create an exposed aggregate nish.
            (17)   DEFAULT COATINGS are specialty coatin (those other than flat or nonflat



                                                              d
                   coatings) that are not defined in section (b) as ~y other coating category.
            (18)   DRIVEWAY SEALERS are coatings that          8'f   applied to worn asphalt driveway
                   surfaces in order to:                ··
                   (A)     Fill cracks;
                   (B)     Seal the surface to provide protection; r
                   (C)     Restore or preserve the surface app      ce.
                                                                  I



                                                               d
           (19)    DRY-FOG COATINGS are coatings whi~h are fonnulated only for_ spray
                   application so that when sprayed, overspray droplets dry before falling on floors
                   and other surfaces. ·
           (20)    EXEMPT COMPOUNDS (See Rule 102-De · ition ofTenns.)
           (21)    FAUX FINISHING COATINGS are coa · Igs that meet one or more of the
                   following subcategories:
                   (A)    CLEAR TOPCOATS are clear coatings used to enhance, seal and protect

                          (b)(21)(B). (C). (D) or (B). These   cir
                          a Faux Finishing coating that •meet, the requirements of subsection
                                                                topcoal> must be sold and         uied.
                                                1113-3           i


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                                                                      I
      Rule 1113 (Cont.)                                          (Amended February 5, 2016)
                                                                      I
                           solely as part of a Faux Finishing or gtliphic arts coating system, and must
                                                                    I
                           be labeled in accordance paragraph (d)(7).
                   (B)     DBCORATIVE COATINGS are coati~gs used to create a gonioapparent
                           appearance, such as metallic, iridesce,bt, or pearlescent appearance. that
                                                                      I

                           contain at least 48 grams of pearlescent mica pigment or other iri~t
                           pigment per liter of coating as applied ~at least 0.4 pounds per gallon).
                   (C)     GLAZES are coatings fonnulated and,recommended to be used (or to be
                           mixed with another coating) for:        ,
                           (i)     Wet-in-wet techniques, wher a wet coating is applied over
                                  another wet coating to create 'stic effects, including simulated
                                     marble or wood grain, or
                           (ii)      Wet-in-dry techniques, where wet coating is applied over a pre-
                                     painted or a specially prepared!substrate or base coat and is either
                                    applied or is treated during the drying period with various tools,
                                  -~such as a brush, rag, comb, or ~pon~ to create artistic effects such
                                    as dirt, old age, smoke damagd, simulated marble and wood grain
                                    finishes, decorative patterns, ofcolor blending.
                   (D)    JAPANS are pure concentrated pigm ts, finely ground in a slow drying
                          vehicle used by Motion Picture and Television Production Studios to
                          create artistic effects including, but ot limited to, dirt, old age, smoke
                          damage, water damage, simul~ted mar. le, and wood grain.
                  (E)     TROWEL APPLIED COATINGS e coatings .exclusively applied by
                          trowel that are used to create aesthetic . ffects including, but not limited to,
                          polished plaster, clay, suede and dimeJsional, tactile textures.
           (22)   FIRE-PROOFING COATINGS are opaque ~atings fonnulated to protect the
                  structural
                      .
                                integrity of steel and other codstruction
                                                                     I
                                                                                 materials and listed by
                                                                     1
                  Underwriter's Laboratories, Inc. for the fue pr: tection of steel.
           (23)   FLAT COATINGS are coatings that registe a gloss of less than IS on an 85-
                  degree meter or less than 5 on a 60-d                 meter according to ASTM Test
                  Method D S23.
           (24)   FLOOR COATINGS are opaque coatings                   t are formulated for or applied to
                  flooring including, but not limited to, floo · g for garages, decks, and porches.
                  Floor coatings also include clear coatings formulated
                                                                    I
                                                                                for or applied to concrete
                  flooring. Floor coatings do not include Industrial Maintenance Coatings.
           (25)   FORM RELEASE COMPOUNDS are coatings               !
                                                                           designed for or applied to a
                  concrete fonn to prevent the freshly poured ~ncrete from bonding to the form.
                                                           .      I
                                                1113-4


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      Rule 1113 (Cont.)                                          (~mended February 5, 2016)
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                   The form may consist of metal, wood, or s~me material other than concrete.
                   Form release compounds will be exempt fromjRules 1113 and 314 upon adoption
                   of Rule 1161 - Release Agents or any other Regulation XI Rule limiting the VOC
                   content of form release compounds.                    I
            (26)   FORMULATION DATA is the actual pro~ct recipe which itemizes all the
                   ingredients contained in a product including~:Cs and-~e quantities thereof used
                   by the manufacturer to· create the product.     rial Safety Data Sheets (MSDS)
                   are not considered fonnulatioo data.        · ,
                                                                         1
            (27)   GONIOAPPARENT means a change in app:E            ance with a change in the angle of
                   illumination or the angle of view, as defined a • rdiog to ASTM E-284.
            (28)   GRAMS OFVOCPERLITEROFCOATIN: OR COLORANT, LESS WATER
                   AND LESS EXEMPT COMPOUNDS, is ~e weight of VOC per combined
                   volume of VOC and coating or colorant sotds and can be calculated by the
                                                                  '
                   following equation:                            ·

                                             of
                    Grams ofVOC per Liter Coating, Less          ~           Ws   - Ww       -wes
                    Waler and Less Exempt Compounds                          Vm   - Vw     - Ves

                                                                     '
                    Where:           Ws      = weight of vola~le compounds in grams
                                     Ww      = weight of watetj in grams
                                    Wes      =    weight of exit compounds in grams
                                     Vm      c    volume of material
                                                                 i
                                                                      in liters
                                     Vw      =    volume of wate.- in liters
                                     Ves     =    volume of ex,pt compouruls in liters

                   For coatings that contain reactive diluents,l the Grams of          voe     per Liter of
                   Coating, Less Water -and Less Exempt Coipounds, shall be calculated by the
                   following equation:
                                  .                        .
                                                                     i
                   Grams ofVOC per Liter of Coating. Less                    Ws   -   Ww   -   Wes
                   Water and Less Exempt Compounds                           Vm   - · Vw   -   Ves

                   Where:            Ws      =    weight of vol 'le compounds emitted during
                                                    curing, in .
                                                                I
                                    Ww       =    weight of ware, emitted during curing, in grams

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      Rule 1113 {Cont.)                                           (1meaded FeJ,ruary S, 2016)

                                                                      I
                                      Wes      =   weight of exempt compounds emitted during
                                                          •   •       i


                                      Vm       =   vot:'e~:~al prior~ reac~on,in liters
                                      Vw       =   volume of water emitted dunng cunng. m liters
                                      Yes      =   volume of exempt compounds emitted during
                                                      curing. in HJrs

            (29)   GRAMS OF voe PER LITER OF M~
                   volume of material and can be calculated by e following equation:

                   Grams ofVOC oer Liter of Material              = Ws - Ww - Wes
                                                                              Vm
                   Where:           Ws        = weight of vola Ile compounds in grams
                                                                      !
                                    Ww        =    weight of  wat1ingrams
                                  . Wes       =    weight of ~e t compounds in grams
                                   Vm         =    volume of the aterial in liters

                                                      '
            (30)   GRAPHIC ARTS COATINGS {Sign Paints~ are coatings formulated for hand-
                   application by artists using brush or roller tec~ques to indoor and outdoor signs
                   (excluding structural components) and mu         including lettering enamels, poster
                   colors, copy blockers, and bulletin enamels.
            {31)   lllGH-TEMPERATURE INDUSTRIAL                           NANCE COATINGS are
                   industrial maintenance coatings formulated r or applied to substrates exposed
                   continuously or intennittently to temperatures ;above 400 degrees Fahrenheit.
           (32)    INDUSTRIAL MAINTENANCE COATINdS are coatings, including primers,
                   sealers, undercoaters, intermediate coatings and topcoats, formulated for or
                   applied to substrates, including floors, that e exposed to one or more of the
                   following extreme environmental conditions:
                   (A)     Immersion in water, wastewater, or c emical solutions (aqueous and non-
                           aqueous solutions), or chronic expo e of interior surfaces to moisture
                           condensation;
                   (8)     Acute or chronic exposure to corrosiv , caustic or acidic agents, or similar
                           chemicals, chemical fumes, chemical ixtures, or solutions;
                   (C)     Repeated exposure to temperatures in xcess of250 degrees Fahrenheit;
                   (D)     Repeated heavy abrasion, including mechanical wear and repeated
                                                                  I

                           scrubbing with industrial solvents, cl ers, or scouring agents; or


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              Rule 1113 (ConL)                                            (A.mended February 5, 2016)
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                                                                              i
                                                                              i
                              (E)     Exterior exposure of metal structures.
                    (33)      INTERIOR STAINS are stains labeled and fonnulated exclusively for use on
                              interior surfaces.                                 ;
                    (34)      LACQUERS are _clear or pigmented ·wood !topcoats or cl~_lacquer sanding
                              sealers, both formulated with nitrocellulose or synthetic resins to dry by
                              evaporation without chemical reaction.             ,
                    (35)      LOW-SOLIDS COATINyS are coatings cotining one pound or less of solids
                              per gallon of material.                         I

                    (36)      MAGNESITE CEMENT COATINGS are c~gs formulated for or applied to
                              magnesite cement decking to protect the maJesite cement substrate from erosion
                              by water.                                       I
                   (37)      MANUFACTURER is any person, company, !mm, or establishment who imports,
                             blends, assembles, produces, packages, rcp~kages, _or re-labels an architectural
                             coating, excluding retail outlets where lab ls or stickers may be affixed to
                           ..containers or where colorant is added at the ·nt of sale. __ ___ _
                   (38)      MARKET means to facilitate sales through ~d party vendors including, but not
                             limited to, catalog or ecommerce sales that brlng together buyers and sellers. For
                             the purposes of this rule, market does not m~ to generally promote or advertise
                             coatings.                                        I
                   (39)      MASTIC.COATINGS are coatings formulated to cover boles and minor cracks
                            and to conceal surface irregularities, exclu~g roof coatings, and applied in a
                             thickness of at least 10 mils (dry, single coat).i
                   (40)                                                  ate
                            METALLIC PIGMENTED COATINGS I decorative coatings, excluding
                             industrial maintenance and roof coatings, containing at least 0.4 pounds per gallon
                            (48 gramsniter) of coating, as applied, of elr'ental metallic pigment (excluding
                            zinc).
                   (41)     MULTI-COLOR COATINGS are coatings .thich exhibit more than one color
                                                                               I        .
                            when applied, are packaged in a single contai~er and_ applied in a single coaL _
                   (42)     MULTI-COMPONENT COATINGS are rea4tive coatings requiring the addition
                            of a separate catalyst or hardener before ap;lication to form an acceptable dry
                            film.
                   (43)     NONFLAT COATINGS are coatings that re ister a gloss of 5 or greater on a 60
                            degree meter and a gloss of 15 or greater    or        an 85 degree meter according to
                            ASTM Test Method D 523.                           ,
                   (44)     NON-SACRIFICIAL ANTI-GRAFFITI COATINGS are clear or opaque
                            Industrial Maintenance Coatings fonnulated ~d     !
                                                                                    recommended to deter ~dliesion
                                                                                                          .
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                   Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 29 of 89 Page ID #:37


                         Rule 1113 (Cont.)                                        tended      Februaey 5, 2016)

                                      of graffiti and to resist repeated scrubbin~ and exposure to harsh solvents,
                                      cleansers, or scouring agents used to remove ~ffiti.
                               (45)   PEARLESCBNT means exhibiting various ~lors d~pending on -the. angles of
                                      illumination and viewing, as observed in mothbr-of-pearl.
                               (46)   PIGMENTED means containing colorant         oiIdry coloring matter, such as an ·
                                      insoluble powder, to impart color to a substraf
                               (47)POST-CONSUMER COATINGS are finish coatings that would have been _
                                   disposed of in a landfill, having completed eir usefulness to a consumer, and .
                                   does not include manufacturing wastes.      ,I                                   ·
                            (48) PRE-TREATMENT WASH PRIMERS are coatings which contain a minimum of
                                   O.S percent acid, by weight, applied     direct1JI
                                                                                  to bare metal surfaces to provide
                                   necessary surface etching.
                            (49) PRIMERS are coatings applied to a surface~ provide a firm bond between the
                                   substrate and subsequent coats.             ;
   ~ ------·-- - - -- --. - (SO)-- QUIC~-DRY-ENAMELS-are nontlat, _high g!'ss coatings which comply with the --
                                   followmg:                             ·             ·
               .                      (A)    Shall be capable of being applied dir I tly from the container by brush or
                                             roller under nonnal conditions, n~rma1 · conditions being ambient
                                              temperatures between  60°F 80°F;t
                                                                          and
                                      (B)     When tested in accordance with AST D 1640 they shall set-to-touch in
                                              two hours or less, dry-hard in eight h    or less, and be tack-free in four
                                              hours or less by the mechanical test method.
                                                                                     ,     Coatinp classified as quick-
                                              dry enamels are subsumed by the nonflat coating category.
                               (51)   QUICK-DRY PRIMERS, SEALERS, AN]j UNDERCOATERS are primers,
                                      sealers, and undercoaters which are intended ~ be applied to a surface to provide
                                                                             .       I
                                      a firm bond between the substrate and subs~uent coats and which are dry-to-
                                      touch in one-half hour and can be recoated in two hours when tested in
                                      accordance with ASTM D 1640. Coatin classified as quick-dry primers,
                                      sealers, and undercoaters are subsumed b th~ primer, sealer, undercoater
                                      category.
                              (52)    REACTIVE DILUENT is a liquid. voe d • g application and one in which,
                                      through chemical and/or physical reaction, ch as polymerization, becomes an -
                                      integral part of the coating.
                              {53)    REACTIVE PENETRATING SEALERS are Flear or pigmented coatings labeled
                                      and formulated for application to above-grad~ concrete and masonry substrates to
                                      provide protection from water and waterbo e contaminants including, but not · ·
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      Rule 1113 (Cont.)                                         (Aj18ended February 5, 2016)


                   limited to, alkalis, acids, and salts. Reactive IPenetratin~ Sealers must meet the
                   following criteria:
                   (A)    Used only for reinforced concrete b~dge structures for transportation
                                                                01
                            projects_ witbfn 5 •miles of ~e coas! above :,000 fee~ ele~ation;. o~ for
                            restoration and/or preservation proJect;i on registered b.i.Stoncal buddmgs
                                                          restorurn
                             that are under the purview of a           architect.
                     (B)    Penetrate into concrete and masonry ru~straces and chemically react to
                            form covalent bonds with naturally occF°g minerals in the substrate.
                    (C)     Line the pores of concrete arid masohry substrates with a hydrophobic
                                               .                     i
                            coating, but do not form a surface film./
                    (D)     Improve water repellency at least ~,O percent after application on a
                            concrete or masonry substrate. This, perfonnance must be verified on
                            standardized test specimens, in accokdance with one or more of the
                                                                    I
                            following standards: ASTM C67, or A~TM C97/97M, or ASTM Cl 40.
                    (E) ... Provide a breathable waterproof barridr for concrete or masonry surfaces
                                                                    I
                            that does not prevent or substantially retard water vapor transmission.
                            This performance must be. verified dn standardized test specimens, in
                            accordance with ASTM E96/E96M or ~TM D6490.
                    (F)     Meet the performance criteria listed inl~e National Cooperative Highway
                            Research Report 244 (1981). surface 1hloride screening applications. for
                            products labeled and formulated for veJµcular traffic.
            (54)   RECYCLED COATINGS are coatings manuf~ctured by a certified recycled paint
                   manufacturer and formulated such that 50 percent or more of the total weight
                   consists of secondary and post-consumer coa4ngs and 10 percent or more of the
                   total weight consists of post-consumer coating,.
           (55)    RESTORATION ARCHITECT is an arcbi~t that bas a valid certificate of
                                                                  I

                   registration as an architect issued by the California State Board of Architectural
                   Examiners or the National Council of Arc,itectural Registration Boards and
                   working on registered historical restoration anfor preservation projects.
           (56)    RETAIL OUfLET means any establishment 1at which architectural coatings are
                   sold or offered for sale to consumers.          r
           (57)    ROOF COATINGS are coatings formulated tor application to exterior roofs for
                   the primary purpose of preventing penetra~on of the substrate by water, or
                   reflecting heat and ultraviolet radiation.




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      Rule 1113 (Cont.)                                       (iended February 5, 2016)

            (58)   RUST PREVENTATIVE COATINGS are !coatings formulated for use in
                  preventing the corrosion of metal surfac~ in residential and commercial
                                                                 i

                  situations.              ·                       l
            (59) SACRIFICIAL ANTI-GRAFFITI COATING~ are non-binding. clear coatings
                  which are formulated and recommended for applications that allow for the
                  removal of graffiti primarily by power washin~
            (60) SANDING SEALERS are clear wood coating;; fonnulated for or applied to bare
                  wood for sanding and to seal the wood for subst;uent application(s) of coatings.
            (61) SEALERS are coatings ·applied to either bloc materieJ$,.ftom pen~ting into ·or .
                  leaching out of a substrate, to prevent subseq ent coating., ftom being absorbed
                                                                  I
                  by the substrate, or to prevent hann to substent coatings by materials in the
                  substrate.
            (62) SECONDARY (REWORK} COATINGS are :fragments of fmished coatings or
                                                                  I
                  finished coatings from a manufacturing process that has converted resources into
                 .a commodity of real economic value, but does ~ot include excess virgin resources _ _
                  of the manufacturing process.                  !
                                                                 I
           (63) SHELLACS are clear or pigmented coatings (onnulated solely with the resinous
                 secretions of the lac insect (laccifer lacca). Shellacs are formulated to dry by
                 evaporation without a chemical reaction ~roviding a quick-drying, soli~
                 protective film for priming and sealing stains iand odors; -and for wood finishing
                 excluding floors.                               /
           (64) SOLICIT is to require for use or to specify, by /written or oral contracL
           (65) SPECIALTY PRIMERS are coatings formulated for or applied to a substrate to
                 seal fire, smoke or water damage, or to conditifn excessively chalky surfaces. An
                 excessively chalky surface is one that is defined as having chalk rating of four or
                 less as determined by ASTM 04214 - Photo!tj"aphic Reference Standard No. 1 or
                 the Federation of Societies for Coatings Tc.thnology "Pictorial Standards for
                   Coatin~ Defects"'.                              ~I
           (66)    STAINS are opaque or semi-transparent coati gs which are formulated to change
                   the color but not conceal the grain pattern or t ture.
           (67)    STATIONARY STRUCTURES include, bull are not limited to, homes, office
                   buildings, factories, mobile homes, pavemenii , curbs, roadways, racetracks, and
                   bridges.
           (68)    STONE CONSOLIDANTS arc coatin~ th are labeled and formulated for
                   application to stone substrates to repair hi torical structures tha~ have been




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      . Rule 1113 (Cont)                                             ( mended February S, 2016)
                                                                      I
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                    damaged by weathering or other decay mec~anisms. Stone Consolidants must
                    meet all of the following criteria:
                    (A)      Used only for restoration and/or eservation projects on registered
                             historical buildings that are under die urview of a r~toration architecL
                    {B)      Penetrate into stone substrates    to  C eate bonds between particles   and
                            consolidate deteriorated material.
                    (C)      Specified and used in accordance with ASTM E2167.
             {69) SWIMMING POOL COATINGS are coatiligs specifically formulated for or
                    applied to the interior of swimming pools inciliding, but not limited to, water park
                  · attractions, ponds and fountains, to resist swukiing pool chbicals.
             (70) SWIMMING POOL REPAIR COATINGS a¢ chlorinated, rubber-based coatings
                    used for the repair and maintenance of swirn1*ing pools over existing chlorinated,
                    rubber-based coatings.                            i
             (71) TILE AND STONE SEALERS ate clear or_r_igmented ·sealers that are used for
                    sealing tile, stone or grout to provide resirce against' water' alkalis, acids,
                    ultraviolet light or staining and which meet o~e of the following subcategories:
                    (A)     Penetrating sealers are polymer solutions that cross-link in the substrate
                            and must meet the following criteria: i
                            (i)      A fine particle structure to pepe.trate dense tile such as porcelain
                                     with absorption as low as 0.10 percent per ASTM C373, ASTM

                            {ii)
                                     C97/C97M, or ASTM C642,         j
                                     Retain or increase static coeffi ient of friction per ANSI Al37.1,
                            {iii) Not create a topical surface   filch  on the tile or stone, and
                            {iv) Allow vapor transmission per ASTM B96/96M.
                    (B) . Film forming sea.lers which leave a prJ~ective film<>n the surface.
            (72)    TINT BASE is an architectural coating to whiph colorants are added.
            {73)    TOPCOAT is any final coating, applied in $e or more, coats, to the interior or
                    exterior of a stationary structure or their appuitenances.
                                                                     I
            (74)    TRAFFIC COATINGS are coatings formul ed for or applied to public streets,
                    highways, and other surfaces including, ut not limited to, curbs, berms,
                    driveways, and parking lots.
            {75)    TIJB AND TILE REFINISHING COATIN ;Sare clear or opaque coatings that
                    are used exclusively for refinishing the surfa~ of a bathtub, shower, or sink and
                                                                     I
                    must meet all of the following criteria:         •
                                                                     I
                    (A)    Have a scratch hardness of 3H ~r h er and a gouge hardness of 4H.or
                           harder as determined on bonderiteO! 00 ·in accordance with ASTM D3363,

                                                 1113-:-, 11:



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                  Rule 1113 (Cont.)                                        (       ended February 5, 2016)


                                {B)    Have a weight loss of 20 milli~s or less after 1000 cycles as
                                       determined with CS-17 wheels on br' nderite l 000 in accordance with .··
                                       ASTMD4060,
                                (C)    Must withstand 1,000 hours or more of\exposure with few or no #8 blisters
                                       as determined on unscnoed bonderite ~n accordance with ASTM 04585.
                                       and ASTM D714, and
                                (D)    Must have an adhesion rating of 4B or better after 24 hours of recovery as
                                       detennined on unscribed bonderite in $ccordance with ASTM D4S85 and
                                       ASTM D3359.                          I
                        (76)     UNDERCOATERS are coatings fonnulated fiJr or applied to substrates to provide
                                 a smooth surface for subsequent coa~.
                        (77)     VARNISHES are clear or pigmented wood topcoats formulated with various
                                 resins to dry by chemical reaction.           I  .
                        (78)   . VOLATILE ORGANIC COMPOUND ,(V9C) is as d~fined in Rule 102 -
                                 Definition of Tenns. For the pwpose of th~ rule, tertiary butyl acetate (tBAc) ·
                                 shall be considered exempt as a voe only for purposes of voe emissions
                                 limitations or voe content requirements ~d will continue to be a voe for
                                 purposes of all recordkeeping, emissions rdporting, photochemical dispersion
                                                                                    l
                                 modeling, and inventory requirements whicJ, apply to VOCs, when used in
                                                                                    r             .
                                 industrial maintenance coatings. including ! zin<rrich industrial maintenance
                                 coatings and non-sacrificial anti-graffiti coatin~s.
                        (79)     WATERPROOFING SEALERS are coatin$s which are formulated for the
                                 primary purpose of preventing penetration of ~rous substrates by water.
                                                                               I

                        (80)     WATBRPROOFING CONCRETE/MASONRY SEALERS are clear or
                                 pigmented sealeis that are formulated for seal~g concrete and masonry to provide
                                 resistance against water, alkalis, acids, ultravi~let ligb~ or staining.
                        (81)     WOOD COATINGS are. film Conning coa~ngs used for application to wood
                              substrates only, which are applied to sub$tes including floois, decks and
                              porches. The.Wood Coating category includ. all lacquers, varnishes and sanding
                              sealers, regardless of whether they are clear; s mi-transparent or opaque.
                        (82) WOOD CONDITIONERS are coatings that           ate  formulated for or applied to bare
                              wood, prior to applying a stain, to provide uniform penetration of the stain.
                        (83) WOOD PRESERVATIVES are coatings foiulated to protect wood from decay
                             _or insect attack by the addition of a wood p~ervative chemical registered by the
                                California Environmental Protection Agency.    I
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                                                                       II .
      Rule 1113 (Cont.)                                           (~ended February 5, 2016)

            (84)   WORK.SITE means any location where ardhitectu~I
                                                         I
                                                                   coatings are stored or
                   applied.                                            l
            (85)   ZINC-RICH INDUSTRIAL MAINTENANC~ PRIMERS are primers formulated
                                                                '
                   to contain a minimum of 6S percent metallic zyic powder (zinc dust) by weight of
                   total solids for application to metal substrates.   I
                                                                       i
     (c)    Requirements                                           ~!
            (1)    Except as provided in paragraphs (c)(3), (c)(4, no person shall supply, sell, offer
                   for sale, market. manufacture, blend, repac ge, apply, store at a worksite, or
                   solicit the application of any architectural coa!ng within the District that is listed
                   in the Table of Standards 1 and contains VO~ ~excluding any colorant added to
                   tint bases) in excess of the corresponding voe limit specified in the table, after
                   the effective date specified.                    !
            (2)    No person within the District shall, at the point of sale of any architectural coating
                                                                    I
                   subject to paragraph (c)(l), add to such-coating any colorant that contains VOC in
                   excess of the corresponding applicable VO~ limit specified in the Table of
                   Standards 2.                                     '




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                                                   TABt.E,OF'STANDARDSl'··
                                                  . .. : VQ,C:Jj~f11$,···. ,. ,.•'
                                             : G1'.il~~·or:vo~ j~_tJ:.,H¢t~f ~
                                             Less Wateta1rd Lcs$-,Exemp~ C




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        Jfoof.C-0atin •Alutnin'um :
    .8oof Primers. Bituminous ·




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      l. T~cspedfied limits rein':.tiil jii ,effe¢t ruil~s ,evisc.d limits are listed in 4ubsequent ·cohitmtS m the T~blc of
           Sfani;l.ar<ls. .        ,        ·       · ·      ·    ·   ··                :               '    ·           ·
      ,2, Doell norjpcl,11de c;;Qtllft().Um!s used ti:lr~u,rbs:'an~'gutcersj sidcw4fks, i~ltwJ?,, .d~ivcways and otl1cr 1Jiiscdlaneous.
          concrete.areas,,                                                                 !
      3. Effective ~2105/20 l6rthes111all;coiit~er ex.en!fi!ion nb.l~ngcnipj,lies~ttr {t)(l}.
      4. Effcetive OtiO 112018, the stmtll contame:texemption nh, longer npplics;per (f)ll),
      s. Effcctiyc.Ql!O J/2019. the srria!I :c9ritaincrcxcl!iption is further reitricted:p~r (f){i).
     ,6.   EffettiveO 1/0112020, lli~ m1i11ll yOt;mJ~rexcmp£ion ts,fj)rthcr rest1:1ctc<l:per (l){:l).




                                            Grams ofVQC Per Litcr.of_Ma'terkU

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      Rule 1113 (Cont.)                                         (Ajmended Febmary S, 2016)
                                                                      :
                                                                      i
                                     TABLE OF STANDARDS 2
                                  voe LIMITS FOR coto±s
                              . Grams ofVOC Per Liter of Co orant
                              Less Water and Less Exempt Co; pounds
                                                                      i
                                                                      ''
                               COLORANT ADDED TO                           Limit
                     Architectural Coatinn. excludinR. 1M Coatin 2'.S        so.-
                     Solvent;;Based IM                                      600
                     Waterborne IM                              !            SO·


            (3)    Coating Categorization                         .
                   (A)    If anywhere on the container of an~ coating listed in _either Table of
                          Standards, on any sticker or label aJfixed thereto, or in any sales or
                          advertising literature, any representatiJn is made that.the coating may be
                          used as, or is suitable for use as, a:' coating for which a lower voe
                          standard is specified in the table or·i* paragraph (c)(l), then the lowest
                          voe standard shall apply.                 ·,
                  (B)     The provisions of" paragraph (c)(3)(¥\) shall not apply to a coating
                          described in part as a flat coating; 11:bnflat coating; primer, scaler, and
                                                                  I

                          undercoater; or represented in part for pse on flooring, provided that all of
                          the following requirements arc met: i                             .
                          (i)     The coating meets the definitio~ of a specific coating category for
                                  which a higher voe stan~rd is specified in the Table of
                                                                   I
                                  Standards,                       l
                                                                   l
                         (ii)     The coating is labeled in a m.µmer consistent with the definition
                                  and all the specific labeling uirements for that specific coating
                                  category, and
                         (iii) The coating is suitable and o y recommended for the intended
                                  uses of that specific coating ca ory.
                  (C)    The provisions of paragraph (c)(3)(A) I ball not apply to recycled coatings.
           (4)    Sell-Through Provision                           I
                  (A) Any coating that is manufactured          Jnor      to the effective date of the
                                                                 rr
                         applicable limit specified in the Table Standards 1, and that has a VOC
                         content above that limit (but not abo~e the limit in effect on the date of
                         manufacture). may be sold, supplied. 'ffered for sale. or applied for up to
                         three years after the specified effective date;.


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      Rule 1113 (Cont.)                                           <-imended February S, 2016)
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                   (B)        Any coating sold in a one-liter or ~aller container that has a VOC
                                          •                             I
                              content above the applicable limit specified in the Table of Standards 1 for
                              that coating, whiclt is manufactured !prior to the· effective date of the ·
                              elimination or restriction
                                                  .
                                                          of the s~l .-  -container exemption listed. in
                              subparagraph {t)(l)(B) through (f)(l)CB), may be sol~ supplied, offered
                          ·for sale, or applied for up to two yearsE'r the specified date.
            (S)    All architectural coating ~-r colorant containe _· :from which the ~~ntents are used
                   by pouring, siphoning, brushing, rolling, pad · g, ragging or other means, shall
                                  •           •                     I

                   be closed when not in use. These containers ~elude, but should not be limited to:
                                                                    i
                   drums, buckets, cans, pail!l, trays or other sto~ge or application containers.
            (6)    ~o p~on s~all apply or. solicit the applipati~n _within. the D!strict. of any
                   mdustrial mamtenance coatings, except non-,acnfic1al anti.;.graffiti coatings,- for
                   residential use or for use in areas such as 9flice space and meeting rooms of
                   industrial, commercial or institutional facilities not exposed to such extteme
                                                                 !
                   environmental conditions descn'b.ed in the_ definition
                                                                 I
                                                                          of.industrial maintenance .
                          •                                         I
                   coatings.                                     !
            (7)    General Prohibition                             jI



                   No person shall supply, sell, market, offej for sal~ manufacture, blend, or
                   repackage any architectural coating or colorant in the District subject to the
                                                                  1
                   provisions of this rule with any materials that contain in excess ofO.l percent by
                   weight any Group Il exempt compounds 1· · in Rule 102. Cyclic, branched, or
                   linear, completely methylated siloxanes (VM are not subject to this prohibition.

      (d)   Administrative Requirements
            (I)   Containers for all coatings,.or any colorants ~anufactured on and after January 1,
                   2017, subject to this rule shall display theda~td of manufacture of the contents or a
                   code indicating the date o( manufacture. Th manufacturem of such coatings or
                   colorants shall file with the Executive Offi r of the District and the Executive
                   Officer of the Air Resou~ Board an expJ~'on of each code.
            (2)    Containers for all coatings subject to the     · ments of this rule shall carry a
                   statement of the manuf~turer's recomm · tion regarding thinning of the
                   coating. This requirement shall not apply tot. e thinning of architectural coatings
                   with water. The recommendation shall spedt}, that the coating is to be employed
                   without thinning or diluting under norm'1 environmental and application
                   conditions, unless any thinning recomm ded on the label for normal



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               Rule 1113 (Cont.)                                      (       ended February 5, 2016)




                     (3)
                                                                       :b
                            environmental and application conditions do lnot cause a coating to exceed its
                            applicable standard.
                            Each container of any coating, or any colorant manufactured on and after January
                            1, 2017, subject to this rule shall display the   · um voe content in grams per
                            liter, as follows:                              :
                            (A)     For coa~ngs or colorants packaged in tingle container, the voe ~r liter
                                    of coatmg (less water and. less exem t compounds, and excluding any
                                    colorant added to the tint base)· as I plied, after any recommended
                                   . thinning;                            1
                            (B)      For multi-component coatings, the vJc per liter of coating (less water
                                     and exempt compounds, and excluding1any colorant added to the tint base)
                                     after mixing the components, as recom~ended for use by the architectural
                                                                             1
                                     coatings manufacturer;
                            (C)     For concentrates, the voe per liter c,f coating (less water and exempt
                                _ . compounds~ and _excluding .any colo1nt .added to the tint base) at the. . .
                                    minimum dilution recommended for iuse by the architectural coatings
                                                                             !
                                    manufacturer;                            ;
                            (D)     For low solids coatings, the voe pdr liter of material (excluding any
                                                                       Jy
                                    colorant added to the tint bases) after    recommended thinning; and
                            (E)     voe content displayed may be calcula~ using product formulation data,
                                                                          I


                                    or may be determined using the test !method in subdivision (e). voe
                                                                            !
                                    content calculated from formulation; data shall be adjusted by the
                                    manufacturer to account for cure vottiles (if any) and maximum VOC
                                    content within production batches. T e VOC content shall be displayed
                                   on the coating container such that the      ·red language is:
                                    (i)     Noticeable and in clear and legible English;
                                                                            f
                                    (ii)    Separated from other text; and
                                    (iii)   Conspicuous, as compared wi other words, statements, designs.
                                            or devices in the label as to render it likely to be read and
                                            understood by an ordinary ind' idual under customary conditions
                                            of purchase or use.             l
                    (4)    The labels of all rust preventative coatings sh~l prominently display the statement
                           ''For Metal Substrates Only''.                 I      ·
                    (5)    The labels of all specialty primers shall pro~nently display one or more of the
                           following descriptions:
                           (A)     For fire-damaged substrates.


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..                                                                         I
           Rule 1113 (Cont)                                         (tended February 5, 2016)
                                                                           i
                                                                           i
                       (8)    For smoke-damaged substrates.
                       (C)    For water-damaged substrates.           l'
                       (D)    For excessively chalky substrates.
                 (6)   The labels of concrete--curing compounds m ufactured and used for roadways
                       and b~dges shall prominently display the sta~meot "FOil ROADWAYS AND
                                                                       I
                       BRIDGES ONLY (Not for Use on Curbs and Gutters, Sidewalks, Islands,
                       Driveways and Other Miscellaneous Concrete ~as)".
                 (7)
                                                                      t
                       All Clear Topcoat for Faux Finishing co~gs shall prominently display the
                       statement ..This product can only be sold as· part of a Faux Finishing :coating
                       system".
                (8)    A manufacturer, distributor, or seller of a coati, g meeting the requirements of this
                                           .                           I
                       rule, who supplies that coating to a person rho applies it in a non-compliant
                       manner, shall not be liable for that non-com~~t use, unless the manufacturer,
                       distributor, or seller knows that the suppliedi coating would be used in a non-
                              •      .                                !
                       compliant manner. -- _ .       . -- .         ;             _-- . . ___ ___ _
                (9)    Manufacturers of recycled coatings shall suh1it a letter to the Executive Officer
                       certifying their status as a Recycled Paint Man~turer.

          (e)   Test Methods                                        :
                (I)     voe Content of Coatings and Colorants      1
                For the purpose of this rule, the following test meth
                                                                      .
                                                                        shall be used:

                       The VOC content of coatings subject to th~ provisions of this rule shall be
                                                                      I
                       determined by:                              ~-
                       (A) U.S. EPA Reference Test Method 24 (Detennination of Volatile Matter
                              Conten~ Water Content, Density, Vol1 e Solids. and Weight Solids of
                              Surface Coatings, Code of Federal! Regulations Title 40, Part 60,
                             Appendix A) with the exempt compo~ds' content determined by Method
                              303 (Determination of Exempt Conµ,ounds) in the South Coast Air
                              Quality Management District's (SCAQMD) "Laboratory Methods of
                             Analysis for .Enforcement Samples" mJnua1, or
                       (B)   Method 304 (Determination of Volaclle Organic Compounds (VOC) in
                             Various Materials) in the SCAQMD'J "Laboratory Methods of Analysis
                             for Enforcement Samples manual.
                                                        0
                                                                  :
                       (C)   Method 313 (Detennination of Volatilt Organic Compounds voe by Gas
                             Chromatography-Mass Spectrometry)! in the SCAQMD's "Laboratory
                                                                               11
                             Methods of Analysis for Enforcement $amples manual.

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·,

           Rule 1113 (Cont.)                                          (lded!
                                                                                   February S, 2016)

                        (D)        ASTM Test Method 6886 (Standard T~t Method for Detennination of.the
                                   Weight Percent Individual Volatile Otganic Compounds in Waterborne
                                   Air-Dry Coatings by Gas Chromatography).
                        (E)        Exempt Perfluorocarbons
                                  The following classes of compounds:
                                          cyclic, branched, or linear, com1'letely fluorinated alkanes
                                          cyclic, b~~hed; or linear, co pletely fluorinated ethers with no
                                             unsaturations
                                          cyclic, branched, or linear, completely fluorinated tertiary amines
                                             with no uilsaturations .      l                ·
                                          sulfur-containing perfluorocarbfns with no u.nsaturations and with
                                             sulfur bonds only to carbon and fluorine
                                  will be analyzed as exempt compount for compliance with subdiyision
                                 ·(c), only when manufacturers specify! which individual compounds are
               __ __ - - .. ·-·· _used in the coating formulations. In: addition, the manufacturers must .
                                  identify the U.S. EPA, CARB, and 'CAQMD approved test methods,
                                  which can be us~ to quantify the ammf t of each exempt compound.
                 (2)   Acid Content of Coatings                            I
                       The acid content of a coating subject to thb provisions of this rule shall be
                       determined by ASTM Test Method D 1613 l(Acidity in Volatile Solvents and
                       Chemical Intermediates Used in Paint, Vamis~ Lacquer, and Related Products).
                 (3)   Metal Content of Coatings                           !
                       The metallic content of a coating subject to     1he     provisions of this rule shall be
                       determined by Method 318 (Determination of ~eight Percent Elemental Metal in
                       Coatings by X-Ray Diffiaction) in the SCA.QMD's "Laboratory Methods of
                       Analysi~ for Enforcement Samplesttmanual.        I
                 (4}   DryingTimes                                        !
                       The set-to-touch, dry-hard, dry-to-touch, an ; dry-to-recoat times of a coating
                       subject to the provisions of th1S rule shall be d termined by ASTM Test Method D
                       1640 (Standard Test Methods for Drying, C • g. or Film Formation of Organic
                       Coatings at Room Temperature), The tack-                time of a coating subject to the
                       provisions of this rule shall be determined by ASTM Test Method D I640,
                       according to the Mechanical Test Method.           .
                 (5)   Gloss Determination                             j     .


                       The gloss shall be determined by ASTM Test viethod D 523 (Specular Gloss).
                                                                           1



                 (6)   Gonioapparent Characteristics for Coatings i
                                                                       1
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                Rule 1113'. (Cont.)                                     (A~ended February 5, 2016)
                                                                                  I      -
                               A coating will be determined to have a goniqapparent appearance by ASTM B
                               284 (Standard Tenninology of Appearance).          I
                       (7}     Perfonnance criteria for Reactive Penetrating Sealers shall be determined by the
                                                                                    I
                               following:                                           l
                               (A)     Water Repellency                             :
                                         (i)    ASTM C67 (Standard Test M~tllods for Sampling and Testing
                                                                              I
                                                Brick and Structural Clay Tile);
                                        (ii) ASTM C97/97M (Standard Tes~ Methods for Absorption and Bulle
                                                Specific-Gravity ofDimension ~tone); or                _
                                        (iii) ASTM C140 (Standard Test Methods for Sampling and Testing
                                               Concrete Masonry Units and Retated Units).
                                                                              I

                              (B)      Water Vapor Transmission                    \
                                       (i)     ASTM B96/96M (Standard test Methods for Water Vapor
                                               Transmission of Materials); or ,I
                                      (ii) __ ASTM .. D6490 .(Standard .T~t-Method .for Water Vapor_
                                                                                  I
                                               Transmission
                                                    •
                                                               of Nonfilm Forming I
                                                                                          Treatments Used on
                                               Cementitious Panels).              /
                              (C)     Chloride Screening shall be determined using the National Cooperative
                                                                                  !
                                      Highway Research Report 244 (1981), "Concrete Sealers for the
                                                                                  !          .
                                      Protection of Bridge Structures".       J


                      (8)     Performance criteria for Building Envelope C~atings shall be determined by the
                              following:                                         !
                             (A)         .   B  .
                                      A ir amers:                                i
                                                                                 :
                                               ASTM E2 l 78 (Standard Tes~ Method for Air Penneance of
                                               Building Materials).       I
                             {B)      Water Resistive Barriers                  1

                                      (i)      ASTM E331 (Standard Test tethod for Water Penetration of
                                               Exterior Windows, Skylights, Doors, and Curtain Walls by
                                               Unifonn Static Air Pressure Difference); and
                                      (ii)     ASTM E96/96M (Standard     fest
                                                                          I
                                                                                I
                                                                                      Methods for Water Vapor
                                               Transmission of Materials).
                      (9)    Selection and Use of Stone Consolidants s~l be determined by ASTM E2167
                             (Standard Guide for Selection and Use of Stony Consolidants).
                      (10)   Performance criteria for Tub and Tile Refinisring Coatings shall be determined
                             by the following:                                 /
                             (A)     ASTM D3363 (Standard Test Method (or Film Hardness by Pencil Test);

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     Rule 1113 (Cont.)                                         (Apiended February.S, 2016)
                                                                  :
                  (B)     ASTM 04060 (Standard Test Method for Abrasion Resistance of Organic
                          Coatings by the Taber Abraser);         [
                  (C)     ASTM D4S8S (Standard Practice fyr Testing Water Resistance of
                          Coatings Using Controlled Condensati~n);
                                                                  J
                  (D)     ASTM D714 (Standard Test Method for Evaluating Degree of Blistering
                          of Paints); and    .                    r                  .

                  (E)     ASTM D3359 (Standaid Test Meth4 for Measuring Adhesion by Tape
                          Test).                                  :
           (11)   Perfonnance criteria for penetrating Tile and stone Sealers shall be detennined by
                  the following:                                  i
                  (A)     Penetration of Dense Tile
                                                                  !           ..     .
                          (i)    ASTM C373 (Stmidard Test M;ethod for Water Absorption, Bulle
                                 Density, Apparent Porosity, ~d Apparent Specific Gravity of
                                 Fired Whiteware Products, Cerapiic Tiles, and Glass Tiles);
                         (ii)    ASTM C97/C97M (Standard Test Methods for Absorption and
                                 Bulk Specific Gravity ofDimention Stone); or
                         (iii)   ASTM C642(Standard Test M thod for Density, Absorption, and
                                 Voids in Hardened Concrete).
                                                                   I
                  (B)    Static Coefficient of Friction by Ameri<fl11 National Standard Specification
                         for Ceramic Tile (ANSI Al37.I).          l
                                                                   :
                  (C)    Water Vapor Transmission by ASTM jE96/96M (Standard Test Methods
                         for Water Vapor Transmission ofMateilials).
           (12)   Degree of Chalking Determination                !I
                  ASTM D42 l 4 (Standard Test Methods for Ev~luating the Degree of Chalking of
                  Exterior Paint Films).
           (13)   Equivalent Test Methods                        ~
                  Other test methods determined to be equival nt after review by the Executive
                  Officer, CARB, and the U.S. EPA, and ap roved in writing by the District



                                                                t·
                  Executive Officer may also be used.            ,
                                                                 I
          (14)    Multiple Test Methods                          !
                  When more than one test method or set of          methods are specified for any
                  testing, a violation of any requirement of this le established by any one of the
                  specified test methods or set of test methods; shall constitute a violation of the
                                                                 :
                  rule.                                          ,
          (IS)    AU test methods referenced in this subdivisio sbaJl be the version most recently
                  approved by the appropriate governmental  enti ,·
                                                                es.                             .

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      Rule 1113 (Cont.)



      (t)   Exemptions
            (1)  Small Container Exemption                            :
                 The provisions of the Table of Standards 1 an~ paragraph (c)(l) of this rule shall
                 not apply to architectunil coatings in containf:rs having.· capacities of one liter
                 (I .0S1 quart) or less, but shall apply to the follojwing:    ·
                               .                                    I
                   (A)   Wood Coatings, including Lacquers, Vaptishes. and Sanding Sealers.
                   (B)   Effective February S, 2016, Concrete-(furing Compounds For Roadways
                         and Bridges; Magnesite Cement Coa~ngs; Multi•Color Coatings; Pre-
                         Treabnent Wash Primers; Roof Prim~s. Bituminous; Sacrificial Anti•
                         Graffiti Coatings; Stone Consolidants; ~epair and Other Swimming Pool
                                                                    I

                         Coatings; and Below-Ground and Other!Wood Preservatives.
                   (C)   Effective January 1, 2018, Tub and Ti~~I Refinishing  .
                                                                                  Coatings; Clear and
                         Pigmented Shellacs; and Reactive Penetptting Sealers.
                  (D)    Effective January I, 2019, Flats and Norat-Coatings that are sold; .
                         (i)     In containers having capacities ,reater thani:eight fluid ounce, or
                         (ii)    For pwposes other than touch up.
                  (E)   Effective January 1, 2019, Industrial Maintenance Coatings, including
                        Color lndic?,ting Safety Coatings, Hi Tcmperablre IM Coatings, Non-
                        Sacrificial Anti-Graffiti Coatings, and · c.Rich IM Primers that are sold:
                        (i)      In containers having capacities     ter than one liter, or
                        (ii)     For pwposes other than touch u~, or
                        (iii) Displayed or advertised for   sal;bt  a retail outlet,
                  (F)   Effective January I, 2020, Rust Prevent!itive  Coatings that are sold:
                                                                  I
                        (i)      In containers having capacities ~ter than eight fluid ounce, or
                        (ii)    For pmposes other than touch u~.
            (2)   The small container exemption only applies if +e following·.eonditions are met:
                  (A)   The manufacturer reports the sales in t,he Rule 314 Annual Quantity and
                                                                  I
                        Emissions Report. The loss of this exemption due to the failure of the
                        manufacturer ·to submit the Rule 3141 Annual Quantity and Emissions
                        Report shall apply only to the manufac~er.
                  (B)   The coating containers of the same spfific coating category listed in the
                        Table of Standards l, are not bundledl_together to be sold as a unit that
                        exceeds one liter (1.057 quarts), or eitt fluid ounces for coatings under
                        subparagraph (f)(l)(D) as of January l, 2019, or eight fluid ounces for
                                                                !




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    _ Rule 1113 (Cont.)                                          (A~ended February S, 2016)
                                                                        i
                              coatings under subparagraph (t)(l)(F) 'las of January I, 2020, excluding
                                                 -



                         containers packed together for shipping [to a retail outlet
                   {C)   The label or any other product literature does not suggest combining
                         multiple containers so that the com~ination exceeds ~ne liter ( 1.0S7
                         quarts) or eight fluid ounces under (f)jl·(D) as of Jan_ uary 1, 2019; or eight
                         fluid ounces for coatings under subp agraph (f){l)(F) as of January 1,
                         2020.
            (3)    The provisions of subparagraph (d)(l)         , ugh (d)(7) shall not apply to
                                                                       1
                   architectural coatings in containers having cap[ities of two fluid ounces (59ml)
                  or less.
            (4)   The provisions of this rule shall not apply to:
                  (A)      Architectural coatings supplied, sol , offered for sale, marketed,
                           manufactured, blended, repackaged or !tored in this District for shipment
                           outside of this District or for sbiprhent to other manufacturers for
                                    .
                           rcpack agmg.         -    -              II           -- -     --         -
                  (B)      Emulsion type bituminous pavement se~lers.
                  (C)      Aerosol coating products.               !
                  (D)      Use of stains and lacquers in all areas Y(ithin the District at an elevation of
                           4,000 feet or greater above sea level or ~ale in such areas for such use.
                                                                    I

           (5)    The provisions of paragraph (c) shall not applt to facilities which apply coatings
                                                                    I
                  to test specimens for purposes of research and development of those coatings.

     (g)   Solvent Cleanmg
                          .                                        I:
                               •                                   I
           (1)    Solvent cleaning that is conducted as part of a business including solvent cleaning
                  of architectural coating application equipme1 and the storage and disposal of
                  VOCcootaining materials used in cleanin operations are subject to the
                  provisions of Rule 1171 - Solvent Cleaning Op: rations.
           (2)    Solvent cleaning that is not conducted as part ;of a business and solvent thinning
                  of coatings including solvent cleaning of !:Cchitectural coating ~pplication
                  equipment and solvent thinning of architec~ral coatings are subject to the
                  provisions of Rule 1143 - Consumer Paint ™*ner and Multi-Purpose Solvents.




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                                                                               i
                                           (Adopted March 6, 2009) (Amended June 4, 2010)(Amended July 9,2010)
                                                                      1             (Amended December 3, 2010)
                                                                              I
                    RULE 1143.             CONSUMER PAINT THIN~ERS & MULTI-PURPOSE
                                           SOLVENTS            i
                                                                              ';
                    (a) .   Pu1pose                                     ~;
                            The purpose of this rule is to reduce emiss ons of volatile organic compounds
                            (VOCs) from the use, storage and disposal o consumer paint thinners and multi-
                            pwpose solvents commonly used in thinninf of coating materials, cleaning of
                            coating application equipment, and other·sol ent_ cleaning operations by limiting
                            their voe content

                    (b)     Applicability
                                                                          1
                            This rule is applicable to any person whi       supplies, sells, offers for sale, or
                            manufactures consumer paint thinners and         )ti-purpose solvents for sale in the
                            District, as well as any person who uses or s licits the
                                                                           !
                                                                                     use  of any consumer paint
                                                                                                   '
                            thinner and multi-purpose solvent within theI: istricl

                    {c)     Definitions
                            For the purpose of this rule, the following de nitions shall apply:
                            (1)     ARTIST SOLVENTSrrHINNERS ate any liquid products that meet and
                                    are labeled to meet the requiremen~ of ASTM 04236-94 (Reapproved
                                    200S) Standard Practice for Labelinj Art Materials_ for Chronic Health
                                    Hazards, which is incoipOrated by ref~rence herein, and have been refined
                                    to remove impurities for artistic us~ for the pwpose of reducing the .
                                    viscosity of, or removing, art coatin~·ompositioris or components. Artist
                                    Solventsffhinners do not include co ercial-grade solvents or thinners.
                            (2)     CONSUMER MULTI-PURPOSE S : LVENTS are any liquid products
                                    designed or labeled to be used for dt·spersing or dissolving or removing
                                    contaminants or ~ther organic materia s for personal, family, household, or
                                  . institutional use including but not Ii I 'ted to the following: (I) products
                                    that do not display specific use ins~ctions on the product container or
                                    packaging, (2) products that do     nyt     specify an end-use function or
                                    application on the product container! or packaging, (3) solvents used in
                                    institutional facilities, except for laboratory reagents used in analytical,
                                    educational, research, scientific or otlier laboratories, (4) ''Paint clean-up"
                                                                          I

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                                                                                                                         .                     !
                                                                                                                      A-••••   o   ••   r ,._:.:
                                                             53
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      Rule 1143 (Cont.)                            (Adopted M~b 6, 2009)(Amended June 4, 2010)
                                                (Amended July 9, 201 0)(Amended December 3, 2010)

                     products, and (S) products labeled to prepare 1rfaces for painting. For the
                     purpose of this definition only, "Paint clean-~·· means any liquid product
                     labeled for cleaning oil-based or water-based paint, lacquer, varnish, or
                     related coatings from, but not limited to, p,ainting equipment or tools,
                                                                      I

                    plastics or metals.                             [
                     "Consumer Multi-pwpose Solvents" do not i elude solvents used in cold
                     cleaners, vapor degreasers, conveyorized egreasers or film cleaning
                     machines, Of solvents that are incorporated in I Or used exclusively in the
                    manufacture or construction of. the goods or mmodities at the site of the
                    establishment "Multi-purpose Solvents" als do not include any products
                    making any representation that the product ay be used as, or is suitable
                     for use as a conswner product which qualifi under another definition in
                    California Code of Regulations Title 17,          94508 as of the date of
                    adoption.
            (3)     CONSUMER PAINT THINNERS .are an liquid products used for
                                                                   !



                                                                j.
                    reducing the viscosity of coating compo~itions or components . for
                    personal, family, household, or institutional ' e, including, but not limited
                    to, products that prominently display the te "Paint Thinner," ' 1Lacquer
                  · Thinner," "'Thinner," or"Reducer" on the fro t panel of its packaging.
            (4)     DISTRIBUTOR means any person to whomlconsumer products are sold
                    or supplied for the purposes of resale or dis~bution in commerce. except
                    that manufacturers, retailers, and consumers ate not distn"butors.
            (5)    EXEMPT COMPOUND is as defmed in Rulil 02.
            (6)    FORMULATION DATA is the actual prod ct reciP..e which itemizes all
                   the ingredients contained in a product inclu g VOCs and the quantities
                                                                I
                   thereof used by the manufacturer to create tile
                                                                I
                                                                   product Material Safety
                   Data Sheets (MSDS) are not considered fonn,lation data.
            (7)    GRAMS_ OF VOC PER LITER OF MATBRlf- is the weight of VOC per
                   volume of material and can be calculated by ~e follo~g equation:

                                                                  I
                                                                  I
                                                                  '




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           Rule 1143 (ConL)                               (Adoriect March 6, 2009)(A111~~ed June 4, 2010)
                                                       (Amended ruly 9, 20 lO)(Amended December 3~ 2()1_0)
                                                                           I
                        GramsofVOCperLiterofMaterial i                         =   Ws   • Ww     - Wes
                                                                 :                Vm
                                                  =      weight o~ volatile compounds in grams
                        Where:                                             I
                                                                       i
                                       Ww      = weight of water in grams
                                       Wes     = weight o~ exempt ·coDlpounds in grams
                                      Vm       = volume ~f the material in liters
                (8)     INDUSTRIAL MAINTENANCE Cc1>ATINGS are coatings, including
                        primers, sealers, undercoaters, in~ediatc coatings and topcoats.
                        formulated for or applied to substrajesin~luding floors that       are
                                                                                     exposed to
                        one or more of the following extreme vironmental conditions:
                        (A)    immersion in water, waste 1 r, or chemical solutions (aqueous
                               and non-aqueous solutions), i or chronic exposure of interior
                                                                       I
                               surfaces to moisture condensaJn;
                     . {B)     acute or chronic exposure to c Irrosivc, caustic or acidic agents, or--
                               similar chemicals, chemical; fumes, chemical mixtures, or
                                     .                          i
                               soIutions;                      i
                       (C)     repeated exposure to tempttures in excess of 250 degrees
                               Fahrenheit;
                       (D)     repeated heavy abrasion, incl ·ng mechanical wear and repeated
                                                               I
                               scrubbing with industrial solve~ts, cleaners, or scouring agents; or
                       (E)     exterior exposure of metal stru~tures.
                (9)    LACQUER THINNERS arc solven~ that are manufactured for the
                       purpose of thinning, diluting, dissolt-,ing, and for clean-up of lacquer
                                                                   I

                       coatings.                               1

                (10) MANUFACTURER means any pers~ company, firm, or establishment
                       who imports, manufactures, blends! assembles, produces, packages,
                       repackages, or re-labels a consumer plnt thinner or multi-purpose solvenL
                       The manufacturers listed on the droduct's label shall be primarily
                       responsible for compliance with appii6ible provisions of this rule. If the
                       label lists two or more manufacture+, they may mutually designate in
                       writing a manufac~ responsible f?r compliance with this rule. That

                                                               l
                       writing shall be filed with the ExecutiJe Officer.
                (11) PERSON means any individual, firm, association, organization,
                       partnership, business trus~ corporati n, company, contractor, supplier,
                                                               l




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       Rule 1143 (Cont.)                           (Adopted Mai h 6, 2009)(Amended June 4, 2010)
                                                (Amended July 9, · 0lO)(Amended December 3, 2010)
                                                                       i


                    installer, user or owner, or any state or loJai governmental agency or
                    public district or any other officer or emploree thereof. "Person.. also
                    means the United States or its agencies to the ~xtent authorized by FederaJ

             (12)
                    •~-                                                :
                    RESPONSIBLE PARTY for a corporation ~s a corporate officer or an
                    authorized representative so delegated by a 'f.rporate officer. Delegation
                    of an authorized representative must be madq in writing to the Executive
                    Officer. A responsible party for a partnenhiptor sole proprietorship is the
                    general partner or proprietor,
                                           .
                                                   respectively.
                                                            .

             (13)   RETAIL OUTLET means any establishment                  t which consumer products
                   are sold, supplied, or offered for sale directly tb consumers.
                                                                   I

             (14) SOLICIT is to require for use or to specify, bYr written or oral contract
             (15) SOLVENTS include diluents and thinners bd are· defined as organic
                   materials which are liquids at standard condiUons and which are used as
                                                                     I
                 - dissolvers, viscosity reducets or cleaning age~. _
             (16) SOLVENT CLEANING is the removal of acptesives, inks, coatings, and
                   contaminants which include, but are not lim~ted to, dirt, soil, and grease
                   from parts, products, tools, machinery, equipn1ent, and general work areas.
             {17) SOLVENT FLUSHING is the use of a solv~t to remove adhesives, inks,
                   coatings, or contaminants from the internal rrfaces and passages of the
                   equipment by inducing a rapid flow of solvenfhrough the equipment
             (18) voe (VOLATILE ORGANIC COMPOUND is as defined in Rule 102.
             (19) voe CONTENT means the total weight of , OC in a product expressed



                    (lb/Gal).
                                                                r)
                   as a percentage of the product weight or as ia mass-based concentration
                   expressed in grams per liter of material
                                                                 I
                                                                          or pounds per gallon


      (d)   Requirements                                         ,
            (1)    Except_as provided in paragraph (d)(2), no p rson shall supply, sell, offer
                   for sale, manufacture, blend, package or re ackage any consumer paint
                   thinner or multi-purpose solvent for use in the District unless the
                  consumer paint thinner or multi-purpose solvent complies with the
                  applicable VOC content limits set forth in the table below:




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                                                                    ··;•
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                    R_ule 1143 (Cont.)                            _(Ado -te4 ¥arch 6, 20Q?,)(AJnended Jupe 4, 701.0) \ :·
                                                                (Amend. July9, 2010)(AmendedDecembei3,~01~):-.- ·




                                               Consumer
                                               Pajnt Thinner
                                             . Consumer Multi-          '


                                               Pu ose Solvent

                          (2)     Sell-Through Provision
                                  (A)    Any consumer paint thinne or· multi-purpose solvent that is
                                         manufactured prior to the e ective :date: of the applicable limit
                                                                                      a
                                         specified in paragraph (d)(l), and that·has voe content above
                                         that limit (but not above ~ limit in effect on the date of
                                         manufacture), may be sold,. s pplied; ~ffered -for sale, or used for
                                         up to one year after the spec1fi effective date.
                                - (B)     Consumer paint thinners mJ actured prior to July 9, 2010 and
                                          labeled for more than one e including -industrial main_tenance
                                          coating thinning, may be sol supplied, offered for sale, or used
                                          up to April l, 201 l.          I
                          (3)     The prohibition of sale specified in±agraphs (d)(l) and (d)(5) shall not
                                  apply to any manufacturer of cons er paint thinners or multi-pwpose-
                                 solvents provided that the product w sold to an independent distributor
                                  that was infonned in writing by the manufacturer about the compliance
                                 status of the product in the District
                          (4)     Any solvent container in which the ntents therein are applied directly to
                                 a surface from said container by p uring, siphoning, brushing, rolling,
                                 padding, rag application or other me s, shall be closed when not in use.
                                 These solvent containers include, b t shall _not be limited to: drums,
                                 buckets, cans, pails, trays or other app ication containers.
                          (5)    General Prohibition·
                                 No person shall supply, sell, offer fo sat~ manufacture, blend, package,
                                 or repackage any consumer paint thi. ner -or multi.;,putp0se solvent for use
                                 in the District subject to the.provisio of this rule with any materials that
                                 contain in the excess of 0.1 % by weiibit any Group II exempt compounds
                                 listed in Rule 102. Cyclic, branchcil, or linear, completely methylated
                                 siloxanes (VMS) are not subject to
                                                               ..   . thi prohibition.
                                                                    ~




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                                                                        I
      Rule 1143 (Cont.) ·                          (Adopted March 6. 2009)(Amended June 4, 2010)
                                                (Amended July 9,201
                                                                 I
                                                                    0)(Ameoded December 3, 2010)

      (e)   Administrative Requirements
                                                         . .       i
            (l)   No person shall sell, supply, offer for sale, llfanufacture, blend, package,
                  or repackage for use in the District any Flammable'• or "Extremely
                                                                   11

                                                                  I
                  Flammable" Consumer Paint Thinner or Multi-purpose
                                                                  I
                                                                            Solvent named, on
                  the Principal Display Panel as "Paint Thinne?\ "Mtilti-pwpose Solvent'•,
                        .                                         .
                 ..Clean-up Solvent'', or "Paint Clean-up".             !
            (2)    P~~pb (e)(l) does not apply to products ~t meet any of the following
                   cntena:
                   (A)      Products which include an attached "hang tag'· or sticker that
                            displays, at a minimum, the followin, statement: "Formulated to
                            meet low VOC limits: see warnings on;label''.
                   (B)                                              I
                            Products which include an attached ''hang tag" or sticker that
                            displays, at a minimum, the followink statement: "Fonnulated to
                            meet low VOC limits with·   .
                                                            [the com~uon
                                                                      I
                                                                           name of the chemical
                            compound (e.g., 'Acetone', 'Methyl Acetate', etc.) that results in
                                                                      I
                            the product meeting the criteria for !Flammable' or 'Extremely
                            Flammable']"'.                           :
                   (C)      Products which include an attache<l "hang tag" as a second
                                                                    it
                            Principal Display Panel that displays, a minimum; the following
                            statement: "Fonnulated to meet low ~OC limits" placed adjacent
                            to and associated with the      required'   Consumer Product Safety
                            Commission (CPSC) warning.               i

                   (D)      Products where the Principal Display fanel displays, in a font size
                                                                    r
                            as large as, or larger than, the largest ont size of any other words
                            on the panel, the following statemenb "Formulated to meet low
                            voe limits" placed adjacent to and ksociated with the required
                                                                     I
                            CPSC warning.                           i
                   (E)      Products where the Principal Display Panel displays, in a font size
                            as large as, or larger than, the larges1ont size of any other words
                            on the panel, the common name of e chemical compound (e.g.,
                            "Acetone,'" "Methyl Acetate." etc.) [hat results in the product
                            meeting the criteria for "Flammable" oj "Extremely Flammable."
                   (F)      Products that meet the labeling ~uirements of the CARB
                            Consumer Product Regulation specifi~ in title 17, CCR, section
                            94512(e} as adopted.                    I
                   (G)      Products that are manufactured on or bpfore July 9, 2010.
                                                                    !
                                              1143-6



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           Rule 1143 (Cont.)                             (A<.JtedMarch 6, 2009)(Amended June 4, 2010)
                                                      (Amcnded~uly 9, 2010)(Amended December 3, 2010)

                        None of the above labeling or notice 'f uirements preclude the use of any
                        additional labeling or notice for consu, er education.
                 (3)    For the purposes of paragraphs (e)(l) ~d (e)(2) a product is ''Flammable"
                        or "Extremely Flammable" if it is lab;eted as "Flammable" or· "Extremely
                        Flammable" on the product containerl or if the product meets the criteria
                        for these specified in title 16, Code o~Federal Regtilations, section 1500.3
                        cc)(6).                               I
                 (4)    Each product container shall cl ly display the VOC content as
                        determined from the actual product fo ulation data.
                 (5)    The information required by parag phs (e)(l) through (e)(3) shall be
                        displayed on the product container such that it is· readily observable
                        without removing or disassembling an: portion of Uie·product container or
                                                                I

                        packaging.                              i
                 (6)    No person shall remove, alter, conce~. or deface the information required
                     - by paragraphs (e)(l) through (e)(3) p~orto final sale of the product
                 (7)    In conjunction with the changes in VOC content limits, the Executive



                        substances by jointly working with  !
                        Officer shall develop a public cducatlon and outreach program to inform
                        consumers of potential product ctlanges that use more flammable
                                                                  local fire departments to include,
                        but not· be limited to: public service nouricements jn both English and
                        Spanish to be aired on television and adio from October 2010 to January
                       2012; training retailers, including b~g box retailers at their corporate
                       headquarters, in November2010 abou~ these potential changes so that they
                       may alert their consumers; dissemination of 25,000 hardcopy brochures in
                                                               I
                       several languages from November 2010 to January 2012; alerts through
                       Twitter, and placement of electrothc brochmes and Public Service
                                                               I
                       AMouncements (PSAs) on AQMp, CARB, YouTube, local fire
                       department and local city websites frob November 2010 to January 2012.
                       The Executive Officer shall report th status of the public education and
                       outreach program to the Stationary S urce Committee in November 2010
                       and in November 2011. The Execu ·ve Officer may extend the public
                       education and outreach program bey. nd January 2012, if be determines
                       that additional consumer education is eeded.
                (8)    Point of sale containers, for sale or ~istribution, of any consumer paint
                       thinner or multi-pwpose solvent su~ject to this rule shall display the
                                                              !

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      Rule 1143 (Cont.)                            (Adopted M~h 6; 2009)(Amended June 4, 2010)
                                                (Amended July 9, ~0l0){Amended December 3, 2010)
                                                                     i
                    maximum voe content, as supplied, and the ikaximum voe content after
                    any dilution as recommended by the manufactlirer. ·
            (9)     Point of sale containers, for sale or distribu&on, of any consumer paint
                                                                     I
                    thinner and multi-purpose solvent subject to t]Jis rule shall display the date·
                    of manufacture of the contents or a co~e indicating the date of
                    manufacture. The manufacturers of such cpnsumer paint ~inners and
                    multi-pwpose solvents shail file with the Ex~tive Officer an explanation
                                                                    i
                    of each code.                                   1

            (to)    Any manufacturer that supplies consumer pa~t thinners and multi-purpose
                    solvents with intent to sell in the District s1*{1 submit an application as
                   specified by the Executive Officer to ~pply for a manufacturer
                   identification (ID) number by the appl~cable ~e in subdivision (g). The
                   application fonn shall be signed by the respodsible party for manufacturer
                   certifying that all infonnation submitted (inc uding electronic submittals)
                   is true and correct. The Executive -Officer shall be notified in writing
                   within 30 days of any change in the responsible party for the
                   manufacturer.
                                                                   i                       .
            (11)   On or before May l, 2010, and each subsequent January 1 thereafter, all
                                                                   I
                   manufacturers subject to this rule shall provide to the District a list of all
                                                                   I


                   their U.S. distributors to whom they supplyl'roducts subject to this rule.
                   including but not limited to private label an · toll manufactured products.
                   The list shall be in a fonnat determined by th Executive Officer and shall
                   include the distributor•s name, address, conta person and phone number.
            (12)   On or before April 1, 2010, and every subseqhent April 1 (the official due
                   date), each manufacturer subject to this ~le shall submit an annual
                   quantity and emissions report to the Executiv~ Officer.

     (f)   Recordkeeping
           (1)   Manufacturers shall maintain a copy of the pplication receipt from the
                 District. The receipt shall be maintained r five (5) years and made
                 available upon request by the Executive Officbr.
                                                               I
           (2)   Manufacturers shall maintain records to verify data necessary to determine
                 annual consumer paint thinner and multi-purpose solvent sales subject to
                 this rule and voe emissions in the Dis'trict, and compliance. with
                 applicable rules and regulations. The reco shall be maintained for five



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           Rule 1143 (Cont.)                              (Adopted March 6, 2009){Amended June 4, 201 O)
                                                       (Amended!July 9, 2010){Amended December 3, 2010)
                                                                    j
                        (5) years and made available upon request by the Executive Officer. Such
                                                                    I
                        records shall include but not be limited to:
                                                                 I                   •

                        {A)    Product formulation records (tq include VOC content):
                               {i)      Laboratory reports (i~cluding percent weight of non-
                                        volatiles, water, and exbmpts (if applicable); density of the
                                                                I
                                        product; and raw l~boratory data] of test methods
                                        conducted as specified in
                                                                I
                                                                   paragraph (i)(l ), or
                               {ii)     Product formulation data, including physical properties
                                        analyses. as applicabl~. with a voe content calculation
                                        demonstration; and      r
                        {B)    Production records includin~ batch tickets with the date of
                               manufacture, batch weight and ivolume; and
                        (C)    Distribution records:            i
                               (i)      Customer lists or stdre distribution lists or both (as
                                       applicable} and          I_
                               {ii)    Shipping manifests ~r bills of lading or both (as
                                       applicable}; and
                        (D}    Sales records consisting of pointI
                                                                     of sale receipts or invoices to
                               local distributors or both, as applicable.
                                                                ;

           (g)   Compliance Dates                       :
                 (1)   Consumer paint thinner and multi-Jupose solvent manufacturers that
                       begin to manufacture, supply, sell or o~er for sale consumer paint thinners
                       and multi-pwpose solvents subject to this rule and for use in the District
                       after July l, 2009 shall submit the application required in paragraph
                       (e)(l0} no later than thirty (30) calqndar days prior to manufacturing,
                       supplying, selling, or offering for sa e, any consumer paint thinner and
                       multi-purpose solvent subject to this        e and for use in the District.
                 (2)
                       and multi-pwpose solvent manufac r, the new consumer paint thinner
                       and multi-purpose solvent manufa      shall submit the application for a
                       company ID number as required in Jaragraph {e)(l0). That filing shall
                       include the previous consumer paint thinner and multi-purpose solvent
                       manufacturer's ID number.




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                                                                     I
      Rule 1143 {Cont.)                           (Adopted M~h 6, 2009)(Amended June 4, 2010)
                                               (Amended July 9, 20 IO)(Amended December 3, 20 I0)
                                                                     I


      {h)   Information exempt from Disclosure
            Information submitted to the Executive Officer ~y be designated as exempt
            from disclosure consistent with District guidelines implementing. the California
            Public Records Act (Govt. Code §§ 6250-6276.48).

      (i)   Test Methods
            For the purpose of this rule, the following test metho s shall be used:
            {I)     Detennioation ofVOC Content
                    The VOC content of materials subject to the ptovisions of this rule shall
                   be determined by:                              I
                   (A)    U.S. EPA Reference Test Method 24. (Detennination of Volatile
                                                         .    I
                          Matter Content, Water Content, Depsity, Volume ·Solids, and
                          Weight Solids of Surface Coatings, ~ode of Federal Regulations
                          Title 40, Part 60, Appendix A) with e exempt compound content
                          determined by Method 303              etermination of Exempt
                          Compounds) in the SCAQMD "Labo atory Methods of Analysis
                          for Enforcement Samples" manual; or
                   (B)    Method 304 [Determination of Vo~atile
                                                              I
                                                                      Organic Compounds
                                                                                  .
                          (VOC) in Various Materials] in tJie SCAQMD 11Laboratory
                          Methods of Analysis for Enforcement Samples11 manual.
                                                              I
                   (C)    Exempt Perfluorocarbon Compounds ·
                          The following classes of compounds:
                              cyclic, branched, orlinear, complefly fluorinated alkancs
                              cyclic, branch~ or linear, compl tely fluorinated ethers with
                                  no unsaturations;
                              cyclic, branched, or linear, co,pletely fluorinated tertiary
                                  amines with no unsaturations; and
                              sulfur-containing perfluorocarboJ with no unsaturations and
                                  with sulfur bonds only to carbob and fluorine
                                                                 !
                          will ~e analyzed as exempt com;ds for compliance with
                          subdivision (d), only when manufac rs specify which individual
                          compounds are used in the solvent fo ulations. In addition, the
                          manufacturers must identify the U.S. iPA, CARB, and SCAQMD
                                                                 I

                          approved test methods, which can be used to quantify the amount
                          of each exempt compound.              i
                                                                 i

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                                                     62
                                                                    ;


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                                                                   I
           Rule 1143 (Cont.)                              (Adopt! March 6, 2009)(Amended June 4, 2010)
                                                       (Amended fuly 9, 2010)(Amended December 3, 2010)
                                                                   !
                 (2)    Equivalent Test Methods                    J


                        Other test methods determined to be ~uivalent upon approval in writing
                        by the Executive Officer, CARB, and the U.S. EPA may also be used.
                 (3)    Multiple Test Methods                      j
                        When more than one test method or ,et of test methods are specified for
                        any testing, a violation of any requjre*1ent of this rule established by any
                        one of the specified test methods or stt of test methods shall constitute a
                        violation of the rule.
                 (4)    All test methods referenced in this sub ivision shall be the version most
                        recently approved by the appropriate gr;vemmental entities.

           (j)   Exemptions
                 (1)    The provisions of this rule shall not apply to:
                        (A)                                   for
                                Solvents sold in this District ' shipment outside of this District or
                                for shipment to other rnanufactkers for repackaging.
                     --                                         ·I           --·- . -- -
                 (2)    Paragraph (d)(l) of this rule shall not apply to:
                                 .                               I
                        (A)    Solvents provided that they are labeled and designated exclusively
                               for the clean~up of polyasparti~ and polyurea coatings application
                               equipment. This exemptionjdoes not apply if there are any
                               additional use claims on the 1 bel or any other product literature.
                                                                 I
                               This exemption does not applf to any person selling or using the
                               otherwise exempt solvent for ainon-exempt purpose.
                        (B)    Thinners provided that they   arf   labeled and designated exclusively
                               for the thinning of Industrial IMaintenance (IM) coatings, Zinc-
                               Rich IM Primers, and High l Temperature IM Coatings. This
                               exemption does not apply if thFre are·any additional use claims on
                               the label or any other product literature. This exemption does not
                               apply to any person selling orlusing the oUierwise exempt thinner
                               for a non~empt purpose.          ;
                        (C)    Artist solvents/thinners proJided that they are labeled and
                               designated exclusively to redlce the viscosity o~ or remove, art
                               coating compositions or comiJnents and are individually packaged
                               in containers having a total capacity equal to or less than 1 liter.
                                                               f
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                                                               ;




                                                 1143-11 ·



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      Rule 1143 (Cont.)                        •. (Adopted   Ml    6, 2009)(Amended June 4, 2010) •
                                               (Amended July 9, 2010){Amended December 3, 2010) ·
                                                                  !
      (k)   Severability
            If any provision of this rule is held by judicial order to be invalid, or invalid or
            inapplicable to any person or circumstance, such·ordt·shall not affect the validity
            of the remainder of this rule, or the validity or appli bility of such provision to
            other persons or circumstances. In the event any of , e exceptions to this rule is
            held by judicial order to be invalid, the persons or cµcumstances covered by the
            exception shall instead be required to comply with th~ remainder of this rule.

                                                                 I
                                                                 I




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                        (Adopted April 7, 1989)(Amended March 2, 1990)(Amended Feb. 1, 1991)
                                             (Amended July :19, 199l)(Amended August 2, 1991)
                                      (Amended December 4, 1992)(Amended D~cember 10, 1993)
             (Amended April 11, 1997)(Amended February 13, \998)(Amended September 15, 2000)
                     (Amended June 7, 2002)(Amended July ~2, 2002)(Amended October 3, 2003)
                                           (Amended January!?, 200S)(Amended October 6, 2017)
                                                                    f
        RULE 1168.      ADHESIVE AND SEALANT APPl1,ICATIONS
                                                            i
            (a)   Purpose and Applicability                 :
                  The purpose of this rule is to reduce emi~ons of volatile organic compounds
                  (VOCs), toxic air contaminants, and strato~heric ozone-depleting compounds
                  from the application of adhesives, adhesive Jimers, sealants, and sealant primers.
                                                                I                .
                  This rule applies to any person who uses, sells, stores, supplies. distributes, offers
                  for sale, or manufactures for sale any adhekives, adhesive primers, sealants, or
                  sealant primers, unless otheiwise specificallylexempted by this rule.
                                                                    i

            (b)   Definitions
                                                                 I
                  For the purpose of this rule, the following de1initions shall apply:
                  (I)    ACRYLIC is a thennoplastic pol~er or a copolymer of acrylic acid,
                         methacrylic acid, esters of these acidsl or acrylonitrile.
                                                                I
                  (2)    ACRYLONITRILE-BUTADIENE-S'fYRENE (ABS) plastic is made by
                         reacting monomers of acrylonitrile, b*tadiene, and styrene and is normally
                         identified with an ABS marking.        '
                                                                '
                  (3)    ABS TO POLYVINYL CHLORID~ (PVC) TRANSITION CEMENT is
                         Plastic Welding Cement used to jot ABS and PVC building drains or
                         building sewers.                       ,                      .
                                                                !
                  (4)    ABS WELDING CEMENT is a Plas~c Welding Cement that is used to join
                         ABS pipe, fittings, and other system cpmponents, including, but not limited
                         to, components for shower pan liner! drain, closet flange, and backwater
                                                                I
                         valve systems.                          j
                  (5)    ADHESIVE is any substance that is jused to bond one surface to another
                         surface by attachment                   !
                  (6)    ADHESIVE PRIMER is a fibn-fo~ing material applied lo a substrate,
                         prior to the application of an adhesivejor adhesive tape, to increase adhesion
                         or film bond strength, promote wetlfg, or form a chemical bond with a
                         subsequently applied adhesive.         !
                                                                '




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                 Rule 1168 (Cont.)                                                (Amended October 6, 2017)
                                                                                  I
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                                                                                  I
                                                                                  ;

                       (7)     ADHESIVE TAPE is a backing material ~ated with an adhesive, and
                               includes, but is not limited to, drywall tape, heat sensitive tape, pressure-
                                                                              1
                               sensitive adhesive tape, and water-activated ~e.
                       (8)     AEROSOL ADHESIVE is any adhesive· pac ed as an aerosol product in
                               which the spray mechanism is permanently oused in a can designed for
                               hand-held application where no ancillary hos I or spray equipment is used.
                       (9)     AEROSOL PRODUCT is a pressurized spray fYStem that dispenses product
                               ingredients by means of a propellant containqd in a product or a product's



                       (10)
                                do not include Pump Spray.                    1
                               container, or by means of a mechanically ind*ced force. Aerosol Products

                                 ARCHITECTURAL APPLICATION is the I e of a regulated product on
                                stationary structures, including mobile homesi and their appurtenances.
                       (11)      ARCtllTECTURAL APPURTENANCE is y accessory to a stationary
                                structure, including, but not limited to, hand railings; cabinets; bathroom
                                and kitchen fixtures; fences; rain-gutters and d wn-spouts; window screens;
                                lamp-posts; heating and air conditioning t9uipment; other mechanical
                                                                                I
                                equipment; large fixed stationary tools; signs; 'motion picture and television
                                                                                !
                                production sets; and concrete forms.            '
                       (12)   · BIG BOX RETAILER is a physically large-chain retail outlet that is
                                classified by the U.S. Department of Labor U"t~er North American Industry
                                Classification System code 444110: Home <tenters or identified in a list
                                maintained by the Executive Officer.
                       (13)     BUILDING ENVELOPE is the exterior d demising partitions of a
                                building that enclose conditioned space.
                       (14)     BUILDING ENVELOPE MEMBRANE AD SIVES are used to adhere
                                membranes applied to the building envelope Ito provide a barrier to air or
                               vapor leakage through the building envelo~I that separates conditioned
                                from unconditioned spaces. _Building Envelope Membranes are applied to
                               diverse materials, including, but not limite to, concrete masomy units
                               (CMU), oriented stranded board (OSB), gypsum board, and wood
                               substrates.
                       (15)    CARPET PAD ADHESIVE is an adhesive sed for the installation of a
                               carpet pad (or cushion) beneath a carpet.
                       (16)    CERAMIC, GLASS, PORCELAIN, AND STpNE TILE ADHESIVE is an
                                                                   •          I

                               adhesive used for the installation of tile produpts.



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            Rule 1168 {Cont.)                                           {Amended October 6, 2017)

                                                                 i
                  {17)   CHLORINATED POLY.VINYL CHLORIDE (CPVC) plastic is a polymer
                         of the chlorinated polyvinyl mooome;r that contains 67% chlorine and is
                         normally identified with a CPVC marking.
                                                                   I
                   (18) CPVC WELDING CEMENT is a Plastic Welding Cement that is used to
                         join CPVC pipe, fittings, and other sJtem components, including, but not
                         limited to, components for sbojeran liner, drain, closet flange, and
                         backwater valve systems.                                     .
                   {19) CLEAR, PAINTABLE, AND                        DIATELY WATER-RESISTANT
                                                                   I
                         SEALANT is a compound with ad,hesive properties that contains no
                         appreciable level of opaque fillers or pigments; transmits most or all visible
                         light through itself when cured; is capibte of being painted; is immediately
                         r~is~nt to precipitation upon applicttion; and must meet the following
                         cntena:
                         (A}     Clarity of 15 turbidity units or less per ASTM D7315 -
                                 Determination of Turbidity A~ove I Turbidity Unit {TIJ) in Static
                                 Mode as manufactured and pa~kaged;                                 ·
                         (B)     Color of Gardner Oas tested;! by ASTM Dl544 - Standard Test
                                 Method for Color of Transpar~nt Liquids (Gardner Color Scale) or
                                                               or
                                                                I

                                 Platinum-Cobalt Color of 50 less using ASTM D 1209 - Standard
                                 Test Method for Color of Cle1 Liquids (Platinum-Cobalt Scale) as
                                 manufactured and packaged; and
                                                                  I
                        (C)      Compatible with paint per     1'5™      CIS20 Standard Guide for
                                 Paintability of Latex Sealants. :I
                  {20) COMPUTER DISKElTE MANUFAplJRING is the process where the
                                                               or
                        fold-over flaps are glued to the body a vinyl jacket
                  {21) CONTACT ADHESIVE is an adhesi~e applied to two separate surfaces,
                        allowed to dry before the two surfaces ke placed in contact with each other,
                        and forms an immediate bond after bot adhesive-coated surfaces are placed
                        in fulJ contact with each other.         I
                  {22) CONSUMER PRODUCTS REGULA.trlON is the regulation implemented
                        by the California Air Resources Bob! {CARB) under Title 17 of the
                                                                 '
                        California Code of Regulations, Sectiqn 94507, et. seq.
                  (23) COVE BASE is a flooring trim unit, generally made of vinyl or rubber,
                        having a concave radius on one edge . d a convex radius on the opposite
                        edge, that is used in fanning a junctio between the bottom wall course and
                        the floor, to fonn an inside comer.

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      Rule 1168 (Cont.)                                                 ~Amended October 6, 2017)


            (24)    CYANOACRYLATE ADHESIVE is an a~lic adhesive that contains
                    ethyl, methyl, methoxymethyl or othe~ functional groupings of
                    cyanoacrylate.                          JI
            (25)
                   and removal from, a bath.                    l
                    DIP COAT is a method of application to a ubstrate by submersion into,

             (26) DISTRIBUTION CENTER is a warehouse r other specialized building,
                   which is stocked with products {goods), to be redistn'buted to retailers,
                   wholesalers, or directly to end-users.          .
             (27) DRY WALL ADHESIVE is an adhesive             wledI
                                                                     during the installation of
                   gypsum dry wall to studs or solid surfaces. j
                                                                   i
             (28) EDGE GLUE is an adhesive applied to the e~ge of multi-sheet carbonless
                   fonns prior to being fanned apart after drying'.
             (29) ELECTROSTATIC APPLICATION is a spra~ method where the atomized
                  droplets are charged and subsequently de*osited on the substrate by
                  electrostatic attraction.                     I
                                                                ·
             (30) ENERGY CURABLE ADHESIVES AND SEALANTS are single-
                  component reactive products that cure upon e~posure to visible-light, ultra-
                  violet light, or to an electron beam. The vot content of thin film Energy
                                                                    I


                  Curable Adhesives and Sealants may be dete+ined by manufacturers using
                  ASTM Test Method 7767 Standard Test Me~od to Measure Volatiles from
                  Radiation Curable Acrylate Monomers, Oligomers, and Blends and Thin
                                                                    I

                  Coatings Made from Them.                        ·
            (31) EXEMPT COMPOUNDS are as defined in Rule 102-Definition ofTenns.
            (32) FACILITY means any pennit unit or group~g of pennit units or other air
                  contaminant-emitting activities which are[ located on one or more
                  contiguous properties within the District, ib actual. physical contact or
                  separated solely by a public roadway or othe} public right-of-way, and are
                  owned or operated by the same person (of by persons under common
                  control). Such above-described groupings, if otcontiguous, but connected
                  only by land carrying a pipeline, shall not be onsidered·one facility.
            (33) FIBERGLASS is tine filaments of glass.
            (34) FLOW COAT is an application method that. coats an object by flowing a
                                                                I
                  stream of regulated product over the object and draining off any excess
                  product
            (35) FOAM INSULATION is an expanding foam/that is sprayed into ceiling or
                  wall cavities to provide thermal resistance or ~o minimi7.e air infiltration.
                                                                I


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           Rule 1168 (Cont.)                                         (Amended October 6, 2017)
                                                             I



                 (36)
                                                             i
                        FOAM SEALANT is a foam used to ~11 an4 form a durable, airtight, water-
                        resistant seal to common building substrates, such as woo~ brick, concrete,
                        foam board, and plastic.        I
                 (37)   GRAMS OF voe PER LITER O~ REGULATED PRODUCT, LESS
                        WATER AND LESS EXEMPT COMPOUNDS is the weight of VOC per
                        combined volume of VOC and produtt solids, and can be calculated by the
                        following equation:                                                 ·
                        Grams of Voe per Liter of Regulate1 Product, Less Water and Less
                                                      W5 - wJ-Wes
                        Exempt Compounds=             Vm· Vi,- Ves

                          Where:    W,   =       weight of ~atile compounds, in grams
                                    Ww =         weightofwtter, in grams .
                                    Wu. =        weight of eXfmpt compounds, in grams
                                    Vm . -       volume of material, in liters
                                    Vw   =       volume ofw~ter, in liters ·
                                   V ca    =     volume of e1empt compounds, in liters

                        For reactive products, the VOC contbnt is determined after curing. The
                        grams of voe per liter of any reJlated product, except a low-solids
                        product, shall be calculated by the fol~owing equation:
                                                             i
                        Grams of VOC per Liter of RegulatedjProduct, Less Water and Less
                                                      Wrs-Wtk-Wres
                        Exempt Compounds ==
                                                      Vrm-V~-Vres
                                                             I




                                               =t
                                                             I
                          Where:   Wm     =    weight of volatile compounds not consumed during
                                                  •   •      I
                                               cunng,10~
                                   Wrw    =            of wafr not consumed during curing, in

                                   Wra    = wei_ght ~f ~xe~pt compounds not consumed during
                                            cunng, rn gnm1s
                                   Vrm    = volume of mat!riat prior to reactio~ in liters
                                   Vrw    = volume of w!r not consumed during curing, in
                                            liters
                                   Vrcs   = volume of exe pt compounds not consumed during
                                            curing, in lite~                               ·




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                 Rule 1168 {Coot.)                                               (Amended October 6, 2017)
                                                                                  r
                                                                                  i
                       {38)    GRAMS OF VOC PBR LITER OF M A ~ is the weight of VOC per
                               volume of material, to be used for a lowl50li<ls product, and can be
                               calculated by the following equation:    j
                                                                                 ~s-·Ww-Wes
                               Grams ofVOC per Liter of Material=
                                                                                  I
                                                                                  I
                                                                                      Vm
                                                                                  1
                                 Where:     Ws      =    weight of volatile c ~
                                                                              pounds, in grams
                                            Ww      =    weight of water, in    s
                                            W"      =    weight of exempt co ·pounds, in grams

         ..                                 Vm      =                         ln
                                                         volume of material, liters
                                For reactive products, the VOC content is d~ ermined after curing•
                       (39)    GROUT is a cement-based sealant formula~ to fill or seal gaps, including
                               those associated with, but not limited to, tile rtallations.
                       (40)    HAND APPLICATION MEIBODS is the application of a regulated
                              __ product using han~- held equipment. Such eqJiprnent includes paint brush,
                                 hand roller, trowel, spatula, dauber, rag, sponke, and mechanically- and/or
                                 pneumatic-driven syringe provided there is n~ atomization of the materials.
                       (41)    HIGH-VOLUME, LOW-PRESSURE (HVL;SPRAY is equipment used
                               to apply a regulated product by means of a sp y gun that is designed to be
                               operated and that is operated between 0.1 an 10 pounds per square inch
                               gauge (psig) air pressure measured dynamic~ly at the center of the air cap
                               and at the air horns.                           ;
                                                                              I                             ,.

                       (42)    INDOOR FLOOR COVERING ADHESIVE is an adhesive used during the
                                                                               '
                               installation of a carpet or indoor flooring tha~ is in an enclosure and is not
                               exposed to ambient weather conditions during nonnal use.
                                                                              I
                       (43)   LOW-SOLIDS is any regulated product that f>ntains less than one pound
                                                                             ?f
                              of solids per gallon of material (or 120 grams solids per liter of material).
                       (44)   MAINTENANCE is a routine process to keeP, equipment and machinery in
                              working order or to prevent breakdowns.       l                        ·
                       (4S)   MANUFACTURING is the use of tools and d.bor to make things for sale.
                       (46)   MARINE APPURTENANCES include, but are not limited to, a wood
                              boardwalk, deck, dock, fender, lock gate, 1 or other wooden structure
                              specified for the marine environment.          I                          _
                      (47)    MARINE DECK SEALANT is any sealant that is applied to wooden
                              marine decks and their appurtenances and is s~ecified and used exclusively
                              for the marine environment                     /

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            Rule 1168 (Cont.)                                              (Amended October 6, 2017)

                                                                  >
                                                                 '
                  (48)   MARINE DECK SEALANT PRIMER                is any sealant primer that is applied
                                                                 I
                         to wooden marine decks and their alurtenances and is specified and used
                         exclusively for the marine environm t              .                     _
                  (49)   MODIFIBD BITUMINOUS PRIME consist of bituminous materials, and
                         a high flash solvent used to prepare a  4urfaceby (1) improving the adhesion
                         and (2) absorbing dust from the surfhce for adhesive, or flashing cement
                         bitumen membrane.                   ,,   I
                  (SO)   MODIFIBD BITUMINOUS MATERIALS           I
                                                                         are materials obtained from
                         natural deposits of asphalt or residuf:s from the distillation of crude oil
                         petroleum or coal which consist maiqly of hydrocarbons, and include, but
                         are not limited to, asphalt, tar, pitch~ and asphalt tile that are soluble in
                         carbon disulfide.
                  (51)    MULTI-PURPOSE CONSTRUCTIO~- ADHESIVE is any adhesive to be
                         ·used for· the instaUation or repair of various construction materials,
                          including, but not limited to, drywall, subfloor, panel, fiberglass reinforced __ _
                          plastic (FRP), ceiling tile, and acousti. l tile.
                                                                   I
                  (52)    NON-STAINING PLUMBING Pl!JTIY is a non-staining sealant
                          formulated for use on natural surfaJ materials that remains flexible and
                          creates a waterproof seal when settinJ plumbing fixtures.
                  (53)    OUTDOOR FLOOR COVERING A.Ij>HESIVE is an adhesive used during
                          the installation of carpet or floor coveµng that is not in an enclosure and is
                          exposed to ambient weather conditio~s during nonnal use.
                  (54)   OZONE-DEPLETING COMPOUND: is as defined in Rule 102.
                  (SS)   PANEL ADHESIVE is an adhesive iised for the installation of plywood,
                         pre-decorated hardboard (or tileboard), FRP, and similar pre-decorated or
                         non-de®rated panels to studs orsolidlsurtaces.
                  (56)   PERCENT VOC BY WEIGHT is the ~atio of the. weight of the VOC to the
                                                                 J
                         weight of the material, expressed as percentage ofVOC by weight. ·The
                         percent voe by weight can be calcultted as follows:
                                                                   Wv
                                           % voe weight=          .-  x 100
                                                 .                I w
                                                                  i
                           Where:     WY     =       weight of the yoes, in grams
                                      W      =       weight of ma~ri~ in grams

                 (57)    PERSON is as defined in Rule 102.


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       Rule 1168 (Cont.)                                        (Amended October 6, 2017)
                                                                 i
             (58)   PLASTIC ADHESIVE PRIMER is a material applied to CPVC and PVC
                    plastic to prepare joining surfaces for the a~plication of CPVC or PVC
                    welding cements.                            I
             (59)   PLASTIC WELDING CEMENT is the use of.adhesives
                                                                 I
                                                                            made of resins and
                    solvents which are used to dissolve the s~ces of plastic, except ABS,
                    CPVC, and PVC plastic, to form a bond betwfen mating surfaces.
             (60)   PLASTIC FOAM is a foam constructed of pl*5tics.
             (61)   PLASTICS are synthetic materials cl\~mically formed by the
                                                                I
                   polymemation of organic (carbon-based) sul}stances. Plastics are usually
                   compounded with modifiers, extenders, ~d/or reinf~rcers. They are
                   capable of being molded, extruded, c~ into various shapes and films, or
                                                                    1
                   drawn into filaments ~d are used to produce i'ipe, solid sheet, film, or bulk
                   products.                                        [
             (62) POLYCARBONATB is a thermoplastic resin ~erived from bisphenol A and
                 _ phosgene, a linear polyester of carbonic acid, ~hydroxy compound and any _
                   carbonate diester, or by ester interchange.  I
             (63) POLYETHYLENE TEREPHTHALATE (P.ET, PETE) is a thermoplastic
                   polyester formed from ethylene glycol b}t direct esterification or by
                   catalyzed ester exchange between ethyfene glycol and dimethyl
                   terepbthalate.                                 .
                                                                   l
            (64) POLYETIIYLENE TEREPHTHALATE GiYCOL (PETG) is a glycol
                   modified polyethylene terephthalate.
            (65) POLYVINYL CHLORIDE (PVC) plastic is 3t polymer of the vinyl chloride
                   monomer that contains 57 percent chlorine. !
            (66) POROUS MATERIAL is a substance whi~h has tiny openings, often
                   microscopic, in which fluids may be abs~rbed or discharged. Such
                   materials include, but are not limited to, w1od, fabric, paper, corrugated
                   paperboard, and plastic foam.                 i ·
            (67) POTABLE· WATER ARCHITECTURAL SEALANT is a sealant used in
                                                                 1
                   water treatment or water distribution applicapons required to comply with
                   NSF/ANSI S~dard 61: Drinking Water Srstem Components - Health
                                                                 I
                   Effecm.                                       i
            (68) PRESSURE SENSITIVE AD_HESIVE is an /adhesive& typically coated on
                   backings or release liners that forms a bond when pressure is applied,
                   without the need for solvent, water, or heat. !



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            Rule 1168 (Cont.)                                          (Amended October 6, 2017)
                                                               i
                  (69)    PRIVATE LABELER is the person, Jompany, firm, or establishment
                          (o~erthan the toll manufacturer) iderttified on the label ofa regulated
                          product.                             ;
                  (70)    PUMP SPRAY is a packaging systJm in which the product ingredients
                                                              1·
                          within the container are not under essure and in which the product is
                          expelled only while a pumping action ·s applied to a button, trigger, or other
                          actuator.
                  (71)    PVC WELDING CEMENT is a Plas~ Welding Cement that is used to join
                          PVC pipe~ fittings, and other system jmponents, including, but not limited
                          to, components for shower pan liner; drain, closet flange, and backwater
                                                               •l
                         valve systems.                         !
                  (72)   QUANTITY AND EMISSIONS REP,ORT (QER) is the report specified in
                          subparagraph (f)(2).
                  (73)   REACTIVE PRODUCTS are regul,ted products composed, in part, of
                         monomers that become-integral parts bf the cured product through chemical--
                         reaction. Reactive Products include, but are not limited to, polyurethane
                         and two-component regulated produ s.
                  (74)   REGULATED PRODUCT is an a esive,. adhesive primer, sealant, or
                         sealant primer subject to this rule.
                  (75)   REINFORCED
                            •
                                           PLASTIC COMPOSITE    I
                                                                     is a composite material consisting
                         of plastic reinforced with fibers.    I
                  (76)   REPAIR is an operation or activity to1 return a damaged object or an object
                         not operating properly, to good condi*on.
                  (77)   ROADWAY SEALANT is any sealapt to be applied to streets, highways,
                         and other surfaces, including, but not !
                                                                  limited to, curbs, berms, driveways,
                         and parking lots.                      !
                  (78)   ROLL COATER is a series of mechfical rollers that form a thin film on
                         the surface roller, which is applied to a substrate .by moving the substrate
                       · underneath the roller.               j
                  (79) RUBBER is any natural or manmad rubber-like substrate, and includes,
                        but is not limited to, styrene-butadien~,
                                                                I
                                                                  polychloroprene (neoprene), butyl,
                        nitrile, chlorosulfonated polyethylebe, I
                                                                    and ethylene propylene diene
                         terpolymer.                            :
                  (80) RUBBER FLOORING ADHESIVE! is an adhesive that is used for the
                        installation of flooring material in which both the back and top surfaces are
                        made of synthetic rubber, and which ~ay be in sheet or tile fonn.

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      Rule 1168 (Cont.)                                        !(Amended October 6, 2017)
                                                               !
            (81)    RUBBER VULCANIZATION ADHESIVE is a reactive adhesive used for
                                                                  I
                    rubber-to-substrate bonding achieved during vulcanization of the rubber
                                                               I

                   elastomer at temperatures greater than 250°F~ Vulcanized rubber adhesive
                                                               I

                   does not include bonding previously wlcani¥ rubber.
            (82)    SEALANT is any material with adhesive properties that is designed to ffl~
                    seal, waterproof, or weatherproof gaps or )oints between two sqrfaces.
                    Sealants include caulks.                      i
            (83)   SEALANT PRIMER is any film-fonning pioduct     I
                                                                         applied to a substrate,
                   prior to the application ofa sealant, to enhance the bonding surface.
            (84)   SHOE REPAIR, LUGGAGE AND. HAJoBAG ADHESIVE is an
                   adhesive used to repair worn, tom, or otherwihe damaged uppers, soles, and
                    heels of shoes, or for making repairs to luggake and handbags.
                                                                  I
            (85)   SINGLE PLY ROOF MEMBRANE ADHE~E is any adhesive sealant to
                   be used for the installation or repair of single ply roof membrane.
                   Installation includes, but is not. limited --r-attaching the edge. of the - ----
                   membrane to the edge of the roof and applying flashings to vents, pipes, or
                   ducts that protrude through the membrane.   I
            (86)   SINGLE PLY ROOF MEMBRANE S E ~ is any sealant used for the
                   installation or repair of single ply roof membrane.
            (87)   SOLVENT WELDING is the softening of th~ surfaces of two substrates by
                   wetting them with solvents and/or adhesivJ, and joining them together
                                                                  l
                   through a chemical and/or physical reaction(s~ to form a fused union.
            (88)   SPECIAL PURPOSE CONTACT ADHESIVip is a contact adhesive that is
                   used to bond all of the following substratc!s to any surface: melamine
                                                                  I
                   covered board, metal, unsupported vinyl, reflon, ultra-high molecular
                   weight polyethylene, rubber, and wood veneett 1/16 inch or less in thickness.
                                                                  I
            (89)   STRUCTURAL GLAZING ADHESIVE is Iany adhesive to be used to
                   adhere glass, ceramic, metal, stone, orcompoJite panels to exterior building
                                                               I
                   frames.                                     i
            (90)   STRUCTURAL WOOD MEMBER AD~IVE is an adhesive used for
                                                               I
                   the construction of any load bearing joints in wooden joists, trusses, or
                                                               i
                   beams.                                      :
           (91)    SUBFLOOR ADHESIVE is an adhesive bsed for the installation of
                   subflooring material over floor joists.
           (92)    THIN METAL LAMINATING ADHES~ is an adhesive for bonding
                   multiple layers of metal to metal or metal ~ plastic in the production of
                                                            . I
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            Rule 1168 (ConL)                                               (Amended October 6, 2017)


                         electronic or magnetic components ~ which the thickness of the bond
                                                                   1
                         line{s} is less than 0.25 mil.
                  (93)   TIRE REPAIR is the expanding of a hole, tear, fissure, or blemish in a tire
                         casing by grinding or gouging, apptryg adhesive, and filling the hole or
                         crevice with rubber.                    i
                  (94)   TIRE TREAD ADHESIVE is any adhesive to be applied to the back of
                         precured tread rubber and to the    casin1'
                                                                  and cushion rubber, or to be used to
                         seal buffed tire casings to prevent oxid tion while the tire is being prepared
                         for a new tread.
                  (95)   TOLL MANUFACTURER is                 are;'lated product manufacturer who
                                                                   I



                         produces regulated product for a priva . labeler.
                  (96)   TOP AND TRIM ADHESIVE is an a esive used during the insralJation of
                         automotive and marine trim, including: but not limited to, headliners, vinyl
                         tops, vinyl _trim, sunroofs, dash covetng, door covering, floor covering,
                         panel covenng, and upholstery._       ,     _ __ _ ________ _      _ _ ______ _
                 (97)  TOXIC AIR CONTAMINANT (fAcj is an air pollutant which may cause
                        or contribute to an increase in mortalJty or serious illness, or which may
                       pose a present or potential hazard to h~n health as listed by the Office of
                       Environmental Health Hazard Assess,ent
                 (98) TRAFFJC MARKING TAPE is prefo~ed reflective tape that is applied to
                       public streets, highways, and other su aces, including, but not limited to,
                       curbs, berms, driveways, and parking I ts.
                 (99) TRAFFIC MARKING TAPE ADHESivE PRIMER is any adhesive primer
                       that is applied to surfaces prior to insablation of traffic marking tape.
                 {100) TRANSFER EFFICIENCY is the ra~o of the weight or volume of the
                                                                I
                       regulated product solids adhering to an:object to the total weight or volume,
                       respectively, of the regulated productl. solids dispensed in the application
                       process, expressed as a percentage.
                                                                1
                 (101) VINYL COMPOSIDONS TILE                    <YCT}  is a material made from
                         thermopl~tic resins, fillers, and   pi:E'nts.
                 (102) VEHICLE GLASS ADHESIVE P                        R is a primer applied to vehicle
                         glass or to the frame of a vehicle prior o installation or repair of the vehicle
                         glass using an adhesive or sealant to ~rove adhesion to the pinch weld.
                         For the purposes of this definition, ~ vehicle is a mobile machine that
                         transports passengers or cargo, and includes, but is not limited to,
                         automobiles, trucks, buses, motoreycl~, trains, ships, and boats. -


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                             manufacture regulated products su6jectto the pmvi.sioi1~ bflhis~Iei:which
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           Rule 1168 (Cont)                                              (Amended October 6, 2017)
                                                                 I'
                        (B)      If anywhere on the regulated ~roduct container, on any sticker or
                                                                  1
                                 label affixed thereto, or in an~ sales or advertising literature, any
                                 representation is made that the regulated product may be used, or is
                                 suitable for use, as a regulated roduct for which a voe standard in
                                 a specific category is specifiqd in Table 1, then the lo~est voe
                                 standard shall apply. This pto]·vision does not apply to Substrate
                                 Specific Adhesives.                                        ·
                 (3)      Sell-Through and Use-Through Provi ,ion
                         Any regulated product that is manufac~ed prior to the effective date of the
                         applicable limit specified in Table 1 aiid
                                                                 I
                                                                    that has a voe.content above that
                         limit (but not above the limit in effectjon the date of manufacture), may be
                         sold, supplied, or offered for sale for up to three years after the specified
                                                                 1
                         effective date and used up to four yeats after the specified effective date.
                 (4)     All regulated product containers shall e closed when not in use. Any voe-
                       - laden application tools, such as a brus , pad, rag, cloth, or paper, used in the
                         regulated product application, shall e stored and disposed of in closed
                         containers when not in use.
                 (5)     Solvent cleaning of application ~uipment,. parts, products, tools,
                         machinery, equipment, general work f'Cas, and.the storage and disposal of
                         voe-containing materials, used in cl~ng operations shall be conducted
                         pursuant to Rule 1171 - Solvent el~g Operations.
                (6)      Transfer Efficiency                    I
                         A person shall not apply VOC-containing regulated product unless the
                                                                !
                         regulated product is applied with ! properly operating equipment in
                         accordance with operating procedur~ specified by either the equipment
                        manufacturer or by use of one of the~- llowing methods:
                        (A)   Electrostatic application; or
                        (B)   Flow coat; or
                        (C)   Dip coat; or
                        (D)
                        (E)
                        (F)
                              Roll coat; or
                              High-Volume, Low-Pressure
                              Hand application methods; or
                                                               CP)   spray; or

                        (G)   Such other application me .. ods as are demonstrated to the
                              Executive Officer to be capab~e of achieving a transfer efficiency
                                                              I
                              equivalent to or better than the method listed· in subparagraph
                                                                t
                                                                !
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                                                                      I
      Rule 1168 (Cont.)                                           (~ended October 6, 2017) ·
                                                                      I
                                                                      I
                            (c)(6)(E) and for which prior   writtel'   appro~l of the Exec~tive
                            Officer has been obtained.
            (7)     Control Devices
                    A person may comply with the provisions ofp~phs (c)(l), or (c)(6), or
                   both, by using approved air pollution control e4uipment to apply a regulated
                   product, provided:                                j
                   {A) The control device reduces voe eµnssions from an emission
                       · collection system by at least 95 percedt by weight or the output of
                            the air pollution control device is no hiore than so ppm voe by
                            volume calculated as carbon with no dbution;
                                                                    I
                                                                            and
                   (8)      The owner/operator demonstrates tliat the emission collection
                            system collects at least 90 percent by±eight oftbe voe emissions
                            generated by the sources ofVOC emi ·oos.
                                                                    I
            (8)    A person may comply with the provisions of paragraph (c){l) by means of
                   an Altemative_Emission Control Plan to apptyla regulated product pursuant
                   to Rule 108.
            (9)    The voe content of regulated products that are applied with the use of
                                                                   1
                   refillable pressurized spray system are subject to the voe limits of this rule.
                                                                   !
            (10)   Except as provided in subdivision (i) and paragraphs (c)(3), (c)(7), and
                   (c)(S), a person shall not store regulated pi ucts which contain voe in
                   excess of the limits specified in paragraph (c) ti).
            {11)   Containers used for mixing voe-containing regulated products shall be
                   kept closed at all times except when in use or I hen product is being added
                   or removed.                                     i

      (d)   Recordkeepilig Requirements
            Records of regulated product usage shall be maintained pursuant to Rule 109.
                                                            .     !
      (e)   TestMethods                                         j
                                                               1
            {I)  The voe content of regulated products sh~        be determined by the South
                 Coast Air Quality Management District (SC .QMD) using the applicable
                  test methods below. When a test method sp ifies it is inapplicable to a
                 product category, it shall not be used for tha! inapplicable category. The'
                  Executive Officer will develop a Guidance x+cument to determine which
                  test method will be used when two or more applicable test methods can be
                                                                  I
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                    Rule· 1168 (Cont.)                                          (Amended October 6, 1017)


                                  used to demonstrate compliance with ti}.e ntle. The selected test method will
                                  be based on product type, chemistry, apd voe content.
                                  (A)     VOC content may be detenni8ied by USBPA Reference Method 24
                                          (Determination of Volatile Marer Conten~ Water Conten~ Density
                                          Volume Solids, and Weight 'olids of Surface Coating, Code of
                                          Federal Regulations Title 40, ippendix A, utilizing Procedure B of
                                          ASTM Method D2369).
                                  (B)     voe content may be determinf<i by Method 304 (Determination of
                                          Volatile Organic Compounds (VOC) in Various Materials) in the
                                                                          I
                                          SCAQMD's "Laboratory Methods of Analysis for Enforcement
                                                                          I
                                          Samples" manual.                I
                                  (C)    Exempt compound content shill be determined by Method 303 in
                                          the SCAQMD"s "Laboratory ~ethods of Analysis for Enforcement
                                          Samples" or ASTM Method     Dt4s1.
                                  (D) VOC contentmay be detennin~ by Method 313 (Determination of
                                         Volatile Organic Compounds yoc by Gas Chromatography-Mass
                                         Spectrometry) in the SCAQ~'s "Laboratory Methods ofAnalysis
                                         for Enforcement Samples" nuulual.
                                                                         I
                                 (E)     VOC content may be detennfed by ASTM Test Method 6886
                                         (Standard Test Method for Dftennination of the Weight Percent
                                         Individual Volatile Organic <fompounds in Waterborne Air-Dry
                                         Coatings by Gas Chromatogra~hy).
                                                                        I

                                 (F)     The VOC content of PVC, CP,VC, ABS, ABS to PVC Transition
                                         Welding Cements, and plastic ~esive primers shall be determined
                                         by Method 316A in the SC~QMD's "Laboratory Methods of
                                         Analysis for Enforcement saml,1es. 11
                                 (G) The VOC content of cyanoacrl>,late adhesives shall be determined
                                         by Me~od 316B in the SC~QMD's "Laboratory Methods of
                                         Analysis for Enforcement Samples."
                                 (H)     The VOC content of reactivJ adhesives may be determined by
                                         Appendix A to Subpart PPPP of40 CFR Part 63-Determination of
                                                                         I
                                         Weight Volatile Matter Content and Weight Solids Content of
                                         Reactive Adhesives.            i
                          (2)    The efficiency of the control device ~d the VOC content measured and
                                 calculated as carbon in lhe control~ exhaust gases shall be detennined
                                 by USEPA'S Test Melhod 18, or CA           Melhod 422 for lhe dotemination

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      Rule 1168 (Cont.)                                         lAmended Oetober 6, 2017)
                                                                II

                   of emissions of Exempt Compounds and USBPA's Test Methods 25, 25A,
                   SCAQMD's Method 25.1, or SCAQMD Test[Method 2S.3. (Determination
                                                   •               i
                   of Total Gaseous Non-Methane Organic Emissions as Carbon) for the
                                                                   I
                   determination of total organic compound emi~ions. Emissions determined
                                                                   I
                   to exceed any limits established by this rule ,iirough the use of any of the
                   above-referenced test methods shall constitu¢ a violation of the rule.
            (3)    Viscosity shall be determined by ASTM D ~084- Standard Test Methods
                   for Viscosity of Adhesives.
            (4)    The following classes ofcompounds: cyclic, branched, or linear, completely
                                                                I

                   fluorinated alkanes; cyclic, .branched, or lihear~ completely fluorinated
                   ethers with no unsaturations; cyclic, branph~ or linear, completely
                   fluorinated tertimy amines with no unsatutjttions; and sulfur-containing
                   perfluorocarbons with no unsaturations and with sulfur bonds only to
                                                                  I
                   carbon and fluorine, will be analyzed as exempt compounds for compliance
                   with subdivision (c), only at such time as ranufacturers specify which_
                   individual compounds are used in the regula ed product formulations and
                   identify the test methods, which, prior to such analysis, have been approved
                   by the USEPA and the SCAQMD, that can b used to quantify the amounts
                   of each exempt compound.
            (5)    Equivalent Test Methods
                   Other test methods determined to be equ valent after review by the
                   Executive Officer, CARB, and the USBPA, d approved in writing by the
                   District Executive Officer, may also be used.
            (6)    All test methods referenced in this subdivisibn shall be the version most
                   recently approved by the appropriate govenJental entities.
                                                                !'
     (f}    Administrative Requirements
            (I)   Regulated products manu~tured after Janu~ 1, 2019, shall display the
                  following:
                  (A)     Each container shall display the VQC content of the regulated
                          product, as recommended for appli~'tioo. VOC content shall be
                          displayed as grams ofVOC per liter o(regulated product, excluding
                          water and exempt compounds, or srain:s ofVOC per liter ofmaterial
                          for low-solids products. The VOC ctinteot shall be determined by
                                                                I
                          calculation based on product fonnu ' tion or laboratory analysis
                                                                                 \

                          using the applicable test method in su ivision (e).


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..
                 Rule 1168 (Cont.)                                           (Amended October 6, 2017)

                                                                      i
                                     (i)       Regulated products subject to both the provisions of this rule
                                               and the Consumer Prc)ducts
                                                                       /,
                                                                                Regulation may display the
                                               VOC content as percentiVOC provided the regulated product
                                                                       I

                                               has supplemental prod~ct documentation published from the
                                              ·manufacturer that displays the voe content in grams of
                                               voe per liter of regula~ed product.
                              (B)    Each container or an associatti<f product data sheet. shall displa~ a
                                     statement of the manufachirer's recommendations regardmg
                                     thinning, reducing, or mixin~ with any other voe containing
                                     material, if applicable. MixiJg recommendations shall specify a
                                     ratio which results in a compli~t, as applied, product.
                              (C)    Each container shall display  thf    date of manufacture of the contents
                                     or a date code indicating the dflte of manufacture. A manufacturer
                                                                      i
                                     utilizing a date code shall file~ explanation of each date code with
                                     the District Executive Officer.•
                              (D)    Each container of all Top an~ Trim Adhesives shall include the
                                     statement "For Top and Trim t!Jses Only" prominently displayed.
                              (E)    Each container of all Rubber V:uicanizationAdhesives shall include
                                     the ·statement "For Rubber ~ulcanization Adhesive Uses Only"
                                     prominently displayed.           I
                              (F)    Each container of all Pressure Sensitive Adhesive Primers shall
                                     include the statement "For PrJsure Sensitive Adhesive Primer Uses
                                     Only" prominently displayed.     I
                                                                      I
                              (G)    Each container of all ABS to P'~C Transition Cements shall include
                                                                      !
                                     the statement "For ABS to PV<p Transition Uses Only'' prominently
                                     displayed.                       !
                       (2)    Reporting Requirements
                              (A)    Reporting Timeline
                                                                      I
                                     A Quantity and Emission           eport (QER) .· shall be submitted
                                     according to the reporting tim   line identified'in Table 2 below:
                                     (i)    Every three years, fro     the years 2019 to 2025.
                                     (ii)   Every five years, ther    fter, until and including 2040.
                                                                      I.




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            Rule 1168 (Cont.)                                                      (Amended October 6, 2017)


                                        (E)    Complying wi~ subparagraph '(c)(8) ~ Alternative
                                               Emission Contr~l.
                         (C)    Aerosol QBR                    '
                                                                          I
                                The manufacturer or private labeler of aerosol adhesives and aerosol
                                                               1
                                adhesive primers shall submit! to the District a QER of aerosol
                                adhesive and aerosol adhesive ~~er sales into or within the District.
                                according to the schedule in T~le 2. The report shall include the
                                following information:         '
                                                               r

                                (i)    Product manufacturer(~ listed on the label);
                                (1·1·) Pro duct name and code;I
                                (iii)  Percent VOC by weigh~
                                (iv) Total weight sold, including products sold through
                                       distribution centers lotted within or outside the District;
                                      and                   I
                                (v)   Container size ofprodurt
                         (D)    A corporate officer of the Ql811ufacturer or private labeler of
                                                                      !
                                regulated products, who previpusly reported under (f)(2)(B) and
                                (f){2)(C), that had no distributiyn or sales into or within the District
                                for the specified reporting years in Table 2, must certify that fact in
                                a letter and on company le~erhead by the reporting deadline
                                specified in Table 2.             Ii
                                {i)     A manufacturer or private labeler of regulated products that
                                        has no intention to sell tegulated products into or within the
                                                                   I
                                        District in future years, tnust indicate that fact to be removed
                                                                      I

                                        from future outreach ef(orts.
                                {ii)    A manufacturer or priv 'te labeler of regulated products who
                                        resumes sales ofregulat product into or within the District,
                                        must adhere to the porting requirements specified in
                                       (f)(2)(B) and (f)(2)(C).
                        {E)     Big Box Retailer or Distributio Center QER
                                A big box retailer or distributi n center shall submit a QER to the
                                regulated product manufacture~or private labeler, according to the
                                schedule in Table 2. The QER must be electronically submitted, in
                                a spreadsheet format and certi ed that all information reported is
                                true and oom:ct.   The QER   ml   I
                                                                              con~ the following information:


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                                                                  '
       Rule 1168 (Cont.)                                         !Amended October 6, 2017)


                           (i)     The manufacturer or private labeler's product name and
                                   code; and                         I
                           (ii)    The quantity of each regulatefi product, aerosol adhesive,
                                   and aerosol adhesive primer di~buted into the District
                                                                   '
                    (F)    Facilities Using the 55 Gallon Exemp~on
                           For each calendar year (January 1 throbgh December 31) beginning
                            in 2017, the facility using or purchasing regulated products under
                                                                   I
                           the provisions of paragraph (i)(S)(C) s all submit to the District by
                           September l of the following calend year, an annual report of
                           regulated product used under the pro ·sions of paragraph (i)(5)(C)
                           within the District. The report s all include the following
                           information:
                           (i)     Product manufacturer (as listc:4 on the label);
                                                                   !
                           (ii)    Product name and code;          ;
                           (iii)   The grams ofVOC per liter of regulated product (less water
                                   and exempt solvents);
                           (iv)    The grams ofVOC per liter of material;
                           (v)     Unit size of product;
                           {vi)    Total volume purchased, in gal~ons;
                           {vii) The name and address of the c~mpany or retailer where the
                                   products were purchased.
             (3)   Manufacturers, private labelers, or suppliers, of regulated products shall
                   maintain records to verify data used to dete~e VOC content in preparing
                   their QER. The records shall be maintained for three (3) years and made
                                                                 I


                   available upon request by the Executive Officer. Such records shall include:
                   (A)     Laboratory reports; or                 ·
                   (B)     Formulation data used for VOC conte t calculations.
            (4)    Confidentiality oflnformation
                   Subject to the provisions of the California Pu lie Records Act (Gov Code
                   §§ 6250-6276.48) information submitted to e Executive Officer may be
                   designated as confidential. The designation ust be clearly indicated on
                   the reporting form, identifying exactly w •ch information is deemed
                   confidential. District guidelines require a debuted and complete basis for
                   such claim in the event of a public records reqbest.

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           Rule 1168 (Cont.)                                           (Amended October 6, 2017)


           (g)   Prohibition of Sales and Use                   ,
                 (1)    Except as provided in subdivision (i), ~o person shall use, supply, sell, or
                        offer for sale a regulated product in tlie District that contains chloroform,
                        ethylene dichloride, methylene lhloride,'          · perchloroethylene, and
                        trichloroethylcne.
                 (2)    On and after Januacy I, 2019, excep as provided in subdivision (i), no
                        person shall use, supply, sell, or offe I for sale a regulated product in the
                        District that contains Group II exemPit compounds listed in Rule 102 in
                        quantities greater than 0.1 percent by Y'ieigbt This provision does not apply
                        to cyclic, branched, or linear, comple1ly methylated siloxanes.

           (h)   Rule 442 Applicability                    '
                 Any regulated product which is exempt ftom all or a portion of this rule shall
                 comply with the provisions of Rule 442.   !
          ·(i)   Exemptions · ·      - ·   ·                   -i- ·
                 (1)     The provisions of this rule shall not apily to:
                                                               I
                         (A) Adhesives, adhesive primers, sealants, or sealant primers, and
                                 associated application proces~ that are subject to Rule I 124;
                                                                 I

                         (B)     Adhesive tape;                  :
                         (C)     Regulated products shipped, sbpplied, or sold to persons for use
                                                                 I
                                 outside the District; or        [
                         (D)     Distribution centeis that do notI
                                                                    ship regulated products into or
                                 within the District             i
                 (2)     The provisions of this rule, except paqigraphs (f)(2)(C), shall not apply to
                         aerosol adhesives and primers dispens~d from non-refillable aerosol spray
                                                                 I
                         systems.                                !
                 (3)     The provisions of this rule, except p graphs (g)(l) and (g)(2), shall not
                       · apply to:
                         {A) Regulated products sold in qu tities of one fluid ounce or less;
                         (B)     Adhesives used to glue flowers to parade floats;
                         (C)     Adhesives used to fabricate rthotics and prosthetics under a
                                medical doctor's prescription; Ir
                         (D)    Shoe repair, luggage, and liand~g adhesives.
                 (4)      The provisions of subdivision (c) shat( not apply to:
                                                               i




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                  .
      Rule 1168 (Cont.)                                               6\mended October 6, 2017)
                                                                          I
                                                                          !

                   (A)    Research and development programs Iand quality assurance labs.
                          Records shall be maintained in accordance with the provisions of
                          subdivision (d) of this rule; or        I
                   (B)    Solvent welding_ operations used in ~e manufacturing of medical
                          devices.                                '
            (S)    The provisions of paragraph (c)(l) shall not a~ply to the following:
                   (A)    Adhesives used in tire repair;          i
                   (B)    Adhesives and/or adhesive application ~recesses in compliance with
                          Rules 1104, 1106, 1128, 1130,_and lliO.I;
                   (C)    A facility that demonstrates that the   ital volume of noncompliant
                          products is less than 55 gallons per r_fcility per calendar year. A
                          facility may not use this paragrap~ to exclude noncompliant
                          adhesives used in architectural applications, contact adhesives,
                          special purpose contact adhesives, ~ adhesives used on porous ·
                          substrates. Effective January 1, 20li, a facility ~ay not use this



                  (D)
                          and top and trim adhesives; or          t
                          paragraph to exclude noncompliant rupber wlcanization adhesives

                          Regulated products used in the fiel installation and repair of
                         potable water linings and covers at wat, r treahnent, storage, or water
                                                                 I
                         distribution facilities.                     I

            (6)   The provisions of paragraph (c)(6) shall not apply to regulated products with
                                                                 !
                  a viscosity of 200 centipoise or greater.
            (7)   The provisions of subdivision (f) shall not ap~ly to thermoplastic hot melt
                  adhesives or to regulated products offered forlsale as a dry mix, containing
                  no polymer, which are ready for use or only ~ed with water prior to use,
                  and includ~ but are not limited to, grouts, celents, and mortars.
           (8)    The provisions of subdivisions (c) and {d), hall not apply to regulated
                  products with a VOC content no more than O grams per liter, less water
                  and less exempt compounds, or no more than ~O grams per liter material for
                  low-solids regulated products.                 /
           (9)    Until January 1, 2021, the provision ofparagnp,h (g)(l) and (g)(2) shall not
                  apply to solvent welding formulations con~if~g methylene chloride used
                  to bond hard acrylic, polycarbonate, and polyrthylene terephthalate glycol
                  plastic fabrications, provided:
                  (A)     The concentration of methylene chlopde in any solvent welding
                          formulation docs not exceed 60 perceqt by weight; and
                                                                  !



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Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 82 of 89 Page ID #:90


           Rule 1168 (Conl)                                            (Amended October 6, 2017)


                        (B)      The purchase of all solvent welding products does not exceed 20
                                                                I

                                 gallons per calendar year atjsingle facility, as demonstrated by
                                purchase records and invoi           of methylene chloride containing
                                 solvent welding fonnulations. uch records shall be made available
                                 to the Executive Officer upon ~uest.
                                                                   I
                 (10)    The provisions of this rule shall not apply to regulated products, which
                                                                   I
                        weigh one pound or less, or consist of 1!6 fluid ounces or Jess and have VOC
                         content limits in Section 94S09(a) of ~e Consumer Products Regulation,
                        unless they are:                           ,
                                                                I

                        (A) Incorporated into or used e~clusively in the manufacture or
                                construction of the goods or ~mmodities, and not exempted in
                                paragraph (iX2); or               ;I
                        (B)     Used in pollution-generating a~tivities that take place at stationary
                                sources, excluding mainteoan~e and repair, and not exempted in
                                paragraph (i)(2).                 i
                 (11)                                         or  I
                        As of January 1, 2018, the provisions subdivision (c)(I) and (g) shall not
                        apply to any manufacturer or supplie~ of regulated products provided the
                        product was sold to an independent dist;ributor that was informed in writing,
                        including electronic fonnats, by the !manufacturer or supplier, that the
                                                                I

                        regulated product is not to be used in the South Coast Air Quality
                        Management District. Manufacturers Jtilizing this provision shall maintain
                        notification letters for three (3) years, ~hich shall be made available to the
                        Executive Officer or designee upon 4uest.




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Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 84 of 89 Page ID #:92
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      ·11 NOTICE oF v:r-o L!AT [ON.
                      South Coast AJr Quality Management District :
                      21865 <X>Pl.EY DRIVE, DIAMOND                  ~      CA 917.65-4178                                                                        p 64805

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  YOU ARE HEREBY NOTIFIED 111AT YOU HAVE B£EH CITED FOR ONE OR MORE VIOU :TIONS OF THE SOUTH .COAST AIR QUAUrY MANAG£MEKT
  DISTIUCT (SCAQMD) RULES, STATE LAW OR FEDERAL LAW. IF PROVEN; SUOI VIC I.ATIOH(S) MAY RESULT IN THE IMPOSITION OF CML OR
  CRlM!NAL PENALTIES.                                                 .
  l:ACH DAY A VIOLATION OCaJRS MAY BE HANDLED AS A SEPARATE OfFENSE RE'" '""' .,_ OF WHEfflER OR NOT ADDITIONAL NOTICES OF
  vtOLAllOH ARE ISSU£D.

  DESCRJPTION OF VIOLATIONS
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                        CodaSedlori                                 Comlll!anNo.
  •       ~              orRuleNo.             Oporate or CARD
                                               Reglstre!mn No.       (11App!!cat(9)                                               Description of Violation




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     Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 85 of 89 Page ID #:93
,.
                                 South Coast Air Quality Management District
                                 21865 COPLEY DRIVE, DIAMOND BAR, CA 91765-4178                                                                                         P   64808
                                 NOTICE OF· VIOLAT-ON
                                                                                                                                I




           . e;.                                      -r          .                ______. . .,f::JIJ:.t~n/,, ob'                                                             o///S-
       vou ARE HEREBY NOTIFIED THAT YOU HAYE IIEEN CITED FOR ONE OR MORE VIOLA'ltONS OF THE SOUTH COAST AIR QUALITY MANAGEMtNT
       DISTRICT (SCAQMD) RULES, STATE LAW. OR FEDERAL LAW. IF PROVEN, SUOf VIOLATION(S) MAY RISULT IN THE rMPOSmON OF CML OR
       CRIMINAL PENALllES.                                                  .                                                          .                                      . .

       EACH DA.Y A VIOLATION OCCURS .MAY BE HANDLED A.S A SEPARATE OFFENSE REGA DLESS OF WHETHER OR NOT ADDITIONAL NOTICES OF
       VIOLATION ARE ISSUED.

       DESCRIPTION OF VIOLATIONS

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              Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 86 of 89 Page ID #:94
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                     Date: 11130118               Due Date:      11/30118
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                     Rcquesting Attorney/Secretary: Bill Wons{Clndy 8.
                                         TYPE OF REQUEST
                     Service of Process   D       Messenger        D
                     Court Filing         [XI     Research         D
                                                             SPECIAL RESEARCH RE
                                                                   NOV INFORMATION
                     Facility Name:
                     NOVNo{s):                                              Date(s) ofViolatio (s): _ _ _ _ _ _ _ _ _ __
                     Address:


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                     Special Instructions/Additional Infonnation (attach additional page, ifn




                                     COURT FILING INSTRUCTIONS/ COURT                               SEARCH RE OEST
                    Case Name/Matter Name: SCAQMD v Sherwin WIiiiams
                    Court Name:       LASC. East Judicial Dlslri Pomona Courthouse
                    Court Address:    400 Civic Center Plaza Pomona CA 91766
                    Conformed Copies:       Yes       l&J   No   D     Number:   1-       Re        To: Bill Wong/Cindy Bustillos
                     Documents to Be Filed/Served/Researched (attach additional page, ifne ssary):
                     Please file OG with the court, conform 2 copies




                                           PROCESS SERVICE/MESSENGERS RVICE REQUEST
                    Case Name/Matter Name:                                                      I
                    Serve:
                    Service A d d r e s s = - - - - - - - - - - - - - - - - + - - - - - - - - - - - - - - -

                    Last Day and Time to Seive:
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                    Documents to be Served /Instructions (attach additional page, ifnecCSSBl,y);




                    ·i>ate-w·Time of Servicir.    ·

                    Crcalcd: 2/13/2013


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        Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 87 of 89 Page ID #:95
                                          INSTRUCTIONS FOR HA.              LING UNLIM TED I                L CASES

       The following crilical provisions of the California Rtil~'bfCourt, Title), Divisio 7, as applicable in the Superior Court, are summarized
       for your a.~islance.                                    · ··            '.
       APPLICATION
       The Division 7 Rules were effective January I, 2007.·. They apply to all general ci ii cases.
       PRIORITY OVER OTHER RULES
       The Division 7 Rules shall have priority over all other Local Rules to the extent th others are inconsislenL
       CHALLENGE TO ASSIGNED JUDGE
       A challenge under Code of Civil Procedure Section 170.6 must be madq within I days after notice of assignment for all purposes
       to a judge. or if a party has not yet appeared, within I5 days of the tirst appearari
       TIME STANDARDS
       Cases assigned to the Independent Calendaring Courts will be subject to processin under the following time standards:
       COMPLAINTS
       Al I complninlS shall be served within 60 days of filing and proof of service shall       tiled within 90 days.

       CROSS.COMPLAINTS
       Without leave of court first being obtained, no cross-complaint may be filed y any party after lhcir answer is tiled.           Cross-
       complaints shall be served wilhin 30 days of the tiling date and a proof of service lied within 60 days of the filing date.
       STATUS CONFERENCE
       A status conference will be scheduled by the assigned lndependcnl Calendar Ju gc no Inter than 270 days after the filing of the
       complainL· Counsel must be fully prepan.-d lo discus.,; the following issues: alle alive dispute resolution, bifurcation, settlement,
       lrinl date, and expert witnesses.
       FINAL STATUS CONFERENCE
       The Court will require the parties to attend a final status conference not more an IO days before the scheduled trial date. All
       parties shall have motions in limine, bifurcation motions, statements of major identiary issues, dispositive motions, requcs!ed
       fonn jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
       matters may be heard and resolved at this conference. At least five days before is conference, counsel must also have exchanged
       lisle; of exhibits and witnesses. and have submitted to the court a brief statement f the case to be read to the jury panel as required
       by Chapter Three of the Los Angeles Superior Court Rules.
       SANCTIONS
       The court will impose appropriate sanctions for the failure or refusal to comp! with Chapter Three Rules, orders made by the
       Court. and time standards or deadlines established by the Court or by the Chapte Three Rules. Such sanctions may be on a party.
       or if appropriate, on counsel for a party.
       This Is not a complele delineation. or the Division 7 or Chapler Three Rules, and adherence only to the above provfslons Is
       therefore not a guarantee against the imposition or sanctions under Trial ourt Delay Reduction. Careful reading and
       compllsncc witlt the actual Chapter Rules Is Imperative.
       Class Actions
       Pursuant to Local Rule 2.3. all class actions shall be filed at the Stanley Mosk Co rthouse and arc randomly assigned to a complex
       judge at the designated complex courthouse. If the case is found not to be a c ass action it will be returned to an Independent
       Calendar Counroom for all purposes.
       *Provisionally Complex Coses
       Cnses filed as provisionally complex are initially assigned to the Suirervising udge of complex litigation for detennination of
       complex status. If the cose is deemed to be complc,c within the meaning· of C lifomia Rules of Court 3.400 et seq.; it will be
       randomly assigned 10 11 comple,c judge at the designated complex courthouse. if the case is found not to be complex. it will be
       returned to an Independent Calendar Courtroom for all purposes.




                                   NOTICE OF CASE ASSIGNMENT;.. UN IMITED CIVIL CASE
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       LACIV 190 (Rev 6118)
       LASC Approved 05/05                                      .        . ·.                I
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Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page 88 of 89 Page ID #:96




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           Case 2:19-cv-00234-PSG-MRW Document 1-1 Filed 01/10/19 Page  89 of 89 Page ID #:97
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.~    '     '       .        SUPERIOR COURT OF CALIFORNIA                                                                 !

                                COUNTY OF LOS ANGELES                                                                                                   FILED
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                                                                                                                                             S~ir Coult cf California
            COURTHOUSE ADDRESS:                                                                                                                      untyof LosAngulas
           Pomona Courthouse South
           400 Civic Center Plaza, Pomona, CA 91766                                                                       I                          12/05/2018
            PLAINTI~;                                                                                                     •         SiftamR. ~.E1C10.1~0!!cimlOe!lafCou
            People of The State of California, ex rel South Coast Air Qu~lity M;                                                      By;             LondieOlmm         D!!puty
            DEFENDANT:
            the Sherwin-Williams Company, a an Ohio Corporation
                                                                                                                          !          CASE NUMBER:
                        ... - -NOTICE OF.CASE MANAGEMENT CONF.ERENCE i                                                                1BPSCV00136
           TO THE PLAJNTIFF(S)/ATTORNEY(S) FOR PLAINTIFF($) OF RECORD: :
                                                                                                                          I
                .                                                                                                         i
          ·You are ordered to serve this notice or hearing on all parties/attorneys or re rd forthwith. and meet and confer with all
           parties/attomeys of record about the matters to be.discus~ no later than 3 days before the Case Management Conference.
          · You(Case Management Conference has been scheduled at the courthouse address shown above on:

                                                          Date:                    ·........ Time:          .. .              Depl.: ..     ·. . .
                                                            ·        04/24/2.019 · . ·..              · 8:30AM                        0 ·. .

           NOTiCE TO               DEFENDANT:     THE SETTING OF THE CASE MANAGE ENT CONFERENCE DOES NOT EXEMPT THE.
                                                    DEFENDANT FROM FILING A RESPON IVE PLEADING AS REQUIRED BY LAW.

           Pursuant to .California Rules of Court, rules 3.720-3.730, a completed Ca e Management Statement (Judicial Council fonn #
           CM;110) must be.filed at least 15 calendar days prior to the Case Manag ment Conference. The case Management Statement ·
           may be filedjoinUy by all parties/attorneys of record or lndlvldually by each p rty/attomey of record. You mListbe·.famllla(Wlth ·the.. ·-~-.
           case and be fully prepared to participate effecUvely In the Case Managemen Conference.

     ·. .~tthe CaseManagementConference, the Court may make .pretrial orders Including the following, but not limited to; ari                                                       o.~e[it.<
     .. ;>esta~llshlng ~ discovery schedule: an order referring the case to Alternative
                                                                              ispute Resolution (ADR); an order reclassifying thlf~: '/
                                                                             rders to achieve the goals ofthe Trial Court ~,Y,; <· ::
      · · ~fari'mder setting subsequent conference and the trial date: or other
      · . Reduction          Act
                    (Gov. Code, § 68600 et seq.)      .      ·                                                            I     =·: :· ::::;_                     .       .· .·· • • ;:·:
      · Notlce ls hereby given that if you do not file the Case Management Statem~nl or appear and effectively participate at the case
        Management Conference, the Court may impose sanctions, pursuant loJLASC Local Rule 3.37, Code of Civil Procedure
        ·sections 177.5, 575.2, 583.150, 583.360 and 583.410, Government Code section 68608, subdivision (b), and California Rules of.• ,·.
         Court. rule 2.2 et seq.
                                                                                                                                                                                                : ,:~·

                               12/05/2018                                                                                          Peter A. Hernandez
           Dated: _ _ _ _ _ _ _ __

                                                                                                                          ~               Judicial Officer
                                                                                 CERTIFICATE OF SERVI E

           I, the below named Executive Officer/Clerk of the above-entitled court, dd1 hereby certify that I am not a party to the cause
           herein, and thal on lhis date I served the Notice of Case Management Confe ence upon each party or counsel named below:

          ill by depositing in the United States mall at the courthouse In      Pomona                      California, one copy of the orfgJnal
                    filed herein in e separate sealed envelope to each address as shown bel w with the postage thereon fully prepaid. .          .

           D        by personally giving the party notice upon filing of the complaint.
                        William Bullitt Wong
                         21865 E Copley Dr
                        ·Diamond Bar,.CA 91765
                                                                                                                 She IR. Carter, Executive Officer/. Clerk    .            .
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                                                                                                                                                                                 ...


           Dated: 12/05/2018                                                                                                                 By Londle Olmos                  . > .:: . • .
                                                                                                                                                             Deputy Clerk·,/·•,·.,'<~ ..,.:,



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                                             .          N.OTICE OF·
                                            · CASE MANAGEMENt C'ONF RENCE .
                                            . ,.· .:· . . . . ... • ., ·-   ' .··· -·~::,:·:· ·. . .··\·~.-f-~~--J~· :·       .:
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